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 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &       FOR COURT USE ONLY
 Email Address

 Jeffrey N. Pomerantz (CA State Bar No. 143717)
 Jeffrey W. Dulberg (CA State Bar No. 181200)
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        jnolan@pszjlaw.com
      Debtor(s) appearing without an attorney
      [Proposed] Counsel to Bradley D. Sharp, Chapter 11 Trustee
 for Estate of Leslie Klein
                                       UNITED STATES BANKRUPTCY COURT
                         CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

 In re:                                                                       CASE NO.:         2:23-bk-10990-SK
                                                                              CHAPTER: 11
 LESLIE KLEIN,




                                                                                       NOTICE OF MOTION FOR ORDER
                                                                                            WITHOUT HEARING
                                                                                        PURSUANT TO LBR 9013-1(o)



                                                                                          [No hearing unless requested in writing]
                                                               Debtor(s).


TO THE U.S. TRUSTEE AND ALL PARTIES IN INTEREST. PLEASE TAKE NOTICE THAT:


  1. Movant(s) Bradley D. Sharp, Chapter 11 Trustee for Estate of Leslie Klein, has filed a motion entitled Motion of
     Chapter 11 Trustee, for Order Authorizing the Examination of Axos Financial, Inc. d/b/a Axos Bank, Axos Clearing
     LLC and Axos Invest, Inc., Pursuant to Fed. R. Bankr. P. 2004; Memorandum of Points and Authorities;
     Declarations of Bradley D. Sharp, Nicholas R. Troszak and Jeffrey P. Nolan In Support Thereof

  2. Movant(s) is requesting that the court grant the motion without a hearing, as provided for in LBR 9013-1(o).

  3. The motion is based upon the legal and factual grounds set forth in the motion and briefly described in the attached
     description of relief sought. (Check appropriate box below):
             The full motion is attached hereto; or
             The full motion has been filed with the court, and a detailed description of the relief sought is attached hereto.

  4. DEADLINE FOR FILING AND SERVING OPPOSITION PAPERS AND REQUEST FOR A HEARING: Pursuant to
     LBR 9013-1(o), any party objecting to the motion may request a hearing on the motion. The deadline for filing and
     serving a written opposition and request for a hearing is 14 days after the date of service of this notice, plus 3


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        additional days if you were served by mail, electronically, or pursuant to F.R.Civ.P. 5(b)(2)(D), (E), or (F). If you fail
        to comply with this deadline, the court may treat such failure as a waiver of your right to oppose the motion and may
        grant the motion without further hearing and notice.



Date:       August 16, 2023                                                       Respectfully submitted,



                                                                                     /s/ Jeffrey P. Nolan
                                                                                  Signature of Movant or attorney for Movant


                                                                                     Jeffrey P. Nolan
                                                                                  Printed name of Movant or attorney for Movant




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                                             ATTACHED MOTION




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                                                                   1   Jeffrey N. Pomerantz (CA State Bar No. 143717)
                                                                       Jeffrey W. Dulberg (CA State Bar No. 181200)
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                                                                   7   [Proposed] Counsel to Bradley D. Sharp, Chapter 11 Trustee

                                                                   8                                 UNITED STATES BANKRUPTCY COURT

                                                                   9                                  CENTRAL DISTRICT OF CALIFORNIA

                                                                  10                                        LOS ANGELES DIVISION

                                                                  11    In re                                          Case No.: 2:23-bk-10990-SK
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12    LESLIE KLEIN,                                  Chapter 11
                                        LOS ANGELES, CALIFORNIA




                                                                  13
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                                                                                          Debtor.                     MOTION OF CHAPTER 11 TRUSTEE, FOR
                                                                  14                                                  ORDER AUTHORIZING THE
                                                                                                                      EXAMINATION OF AXOS FINANCIAL,
                                                                  15                                                  INC. D/B/A AXOS BANK, AXOS CLEARING
                                                                                                                      LLC AND AXOS INVEST, INC., PURSUANT
                                                                  16                                                  TO FED. R. BANKR. P. 2004;
                                                                                                                      MEMORANDUM OF POINTS AND
                                                                  17                                                  AUTHORITIES; DECLARATIONS OF
                                                                                                                      BRADLEY D. SHARP, NICHOLAS R.
                                                                  18                                                  TROSZAK AND JEFFREY P. NOLAN IN
                                                                                                                      SUPPORT THEREOF
                                                                  19
                                                                                                                      [FED. R. BANKR. P. 2004 AND L.B.R.
                                                                  20                                                  2004-1]

                                                                  21                                                   [No Hearing Required]

                                                                  22   TO THE HONORABLE SANDRA R. KLEIN, UNITED STATES BANKRUPTCY JUDGE;
                                                                  23   THE OFFICE OF THE UNITED STATES TRUSTEE; THE PROPOSED EXAMINEE; AND
                                                                  24   PARTIES ENTITLED TO NOTICE HEREOF:
                                                                  25            PLEASE TAKE NOTICE THAT Bradley D. Sharp, the duly appointed chapter 11 trustee
                                                                  26   (the “Trustee” or “Applicant”) of the bankruptcy estate (the “Estate”) of Leslie Klein (the “Debtor”),
                                                                  27   pursuant to Rule 2004 of the Federal Rules of Bankruptcy Procedure (“Rule 2004”) and Local
                                                                  28   Bankruptcy Rule 2004-1 (“LBR 2004-1”), hereby moves the Court (the “Motion”) for an Order


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                                                                   1   requiring that Axos Financial, Inc. d/b/a Axos Bank, Axos Clearing LLC and Axos Invest, Inc.

                                                                   2   (“Axos” or Proposed Examinee”) produce documents and answer written questions pursuant to Rule

                                                                   3   7031, as agreed to as follows: September 11, 2023 for production of documents and testimony, or

                                                                   4   as otherwise consensually agreed to by the parties.

                                                                   5
                                                                                                                            I.
                                                                   6
                                                                                                          PRELIMINARY STATEMENT
                                                                   7

                                                                   8           The Motion is made on the grounds that pre-petition, the Debtor, was appointed and

                                                                   9   represented multiple trusts in his capacity as an attorney and a fiduciary. Numerous of his former

                                                                  10   clients have filed complaints over the past eight (8) years in the Superior Court of California, Los

                                                                  11   Angeles County (“Superior Court”) in which they allege monies were diverted by the Debtor,
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                                                                  12   utilized for improper purposes, and which sums are unaccounted for despite orders to show cause
                                        LOS ANGELES, CALIFORNIA




                                                                  13   issued from the Superior Court. Non-Dischargeability complaints were subsequently filed before the
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                                                                  14   Bankruptcy Court alleging similar fact patterns accusing the Debtor of utilizing multiple accounts to

                                                                  15   improperly make investments, collateralize investments, and/or divert monies for personal use

                                                                  16   without the permission of the beneficiaries whom entrusted said funds to the Debtor. The Debtor

                                                                  17   has indicated he maintained no hard copies of financial records and minimal personal records if any.

                                                                  18   Investigation into the bank accounts may give rise to damages, other claims and/or property

                                                                  19   recoverable by the Debtor’s bankruptcy estate.

                                                                  20                                                        II

                                                                  21                                             BACKGROUND

                                                                  22   Procedural Background and Filing of the Cases:

                                                                  23           On February 22, 2023, the Debtor filed a voluntary petition for relief under subchapter V of

                                                                  24   Chapter 11 of the Bankruptcy Code.

                                                                  25           On April 24, 2023, creditors Erica and Joseph Vago filed a Motion for Order Dismissing

                                                                  26   Debtor’s Chapter 11 Bankruptcy Case (the “Motion to Dismiss”) [Docket No. 79].

                                                                  27

                                                                  28


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                                                                   1             On May 17, 2023, at a hearing held on the Motion to Dismiss, the Court ruled that the

                                                                   2   appointment of a chapter 11 trustee, and not dismissal of the case, was in the best interests of the

                                                                   3   estate.

                                                                   4             On May 23, 2023, the UST filed a Notice of Appointment of Chapter 11 Trustee [Docket No.

                                                                   5   151].

                                                                   6             On May 24, 2023, the UST Filed an Application for Order Approving Appointment of

                                                                   7   Trustee and Fixing Bond [Docket No. 154], approved by order entered the same day [Docket No.

                                                                   8   155]. On that same day, the Trustee accepted his appointment [Docket No. 156].

                                                                   9             This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper pursuant to 28

                                                                  10   U.S.C. §§ 1408 and 1409.

                                                                  11   Factual Background:
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                                                                  12             On August 27, 2021, Plaintiff, ADI Vendriger, individually and on behalf of the Vendriger
                                        LOS ANGELES, CALIFORNIA




                                                                  13   Family Trust, filed a complaint against the Debtor and the law firm of Les Klein & Associates, Inc.
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                                                                  14   (the “Law Firm”) asserting various tort causes of action, including fraud, conversion of property, and

                                                                  15   money had and received. The complaint alleges multiple improper acts by the Debtor including

                                                                  16   comingling and misappropriation of funds. (See State Court Complaint for (1) Fraud; (2) Breach of

                                                                  17   Fiduciary Duty; (3) Conversion; (4) Money Had And Received; (5) Unjust Enrichment and (6)

                                                                  18   Accounting (the “Vendriger Complaint”), ¶¶24, 25, 28, attached hereto as Exhibit A.) On April 10,

                                                                  19   2023, a Notice of Stay of Proceedings was filed.

                                                                  20             On August 29, 2022, a referee appointed by the Superior Court issued an 84 page “Report

                                                                  21   and Recommendation of the Court-Appointed Referee on Examination and Adjudication of the

                                                                  22   Trustee’s First, Second, and Third Accountings On Each of the Twenty-Four Trusts At Issue For the

                                                                  23   Trust Periods September 10, 1996-June 30, 2013, July 1, 2013-December 31, 2016 And January 1,

                                                                  24   2017-September 30, 2018” (the “Referee’s Report”, attached to the Declaration of J. Nolan as

                                                                  25   Exhibit B). The Referee’s Report outlines a multitude of improper acts taken by the Debtor

                                                                  26   including the transfer and misappropriation and commingling of funds. (See Exhibit B, p. 21) Large

                                                                  27   financial disparities were noted to exist between what the Debtor claimed was disbursed to

                                                                  28


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                                                                   1   beneficiaries and ultimately what the beneficiaries documented they received. (See Exhibit B, p. 18,

                                                                   2   ft. note 21)

                                                                   3           On May 10, 2013, Plaintiffs Erica and Joseph Vago, filed a Complaint to Determine the

                                                                   4   Nondischargeability of Certain Debts owed by Debtor Leslie Klein to Erica and Joseph Vago

                                                                   5   Pursuant to 11 U.S.C. §523, and To Deny Discharge Pursuant to Section 727(A)(12) (See Complaint

                                                                   6   for Nondischargeability (the “Vago Complaint”) against the Debtor attached to the Declaration of J.

                                                                   7   Nolan as Exhibit C) The Vago Complaint alleges that the Vagos’ moved 15MM in funds to the care

                                                                   8   of the Debtor between 2013 and 2017. (See Exhibit C, ¶¶17, 26) In 2019, the Vagos demanded

                                                                   9   their monies be returned and the Debtor refused. (See Exhibit C, ¶¶36, 37) The Vago Complaint

                                                                  10   alleges that the Debtor commingled trust funds with his personal funds. (See Exhibit C, ¶46) The

                                                                  11   Vago Complaint attaches a judgment in the amount of $24,334,038 as against the Debtor.
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                                                                  12           On May 12, 2023, Plaintiffs, Robert and Esther Mermelstein filed Complaint for
                                        LOS ANGELES, CALIFORNIA




                                                                  13   Nondischargeability of Debt Pursuant to 11 U.S.C. §523(a)(2)(A), 11 U.S.C. §523(a)(4) & 11 U.S.C.
                                           ATTORNEYS AT LAW




                                                                  14   §523(a)(6) & for Denial Of Discharge Pursuant to 11 USC §727(a)(2)(A); 11 USC §727(a)(2)(B); 11

                                                                  15   USC §727(a)(3); 11 USC §727(a)(4); 11 USC §727(a)(5) the “Mermelstein Complaint”) (See

                                                                  16   Declaration of J. Nolan as Exhibit D, ¶¶17, 21, 24, 28, 32). Several of the investment opportunities

                                                                  17   resulted in significant recoveries to the Debtor which sums are alleged to have been converted by the

                                                                  18   Debtor and concealed from the Mermelstein beneficiaries. (See Mermelstein Complaint, ¶¶14, 20,

                                                                  19   31). The Mermelstein Plaintiffs have filed proofs of claims in the Bankruptcy Case exceeding

                                                                  20   $13,000,000. (See Mermelstein Complaint, ¶41).

                                                                  21           On May 13, 2020, the California Board of Accountancy, Department of Consumer Affairs,

                                                                  22   State of California, issued its Decision and Order in which the Debtor surrendered his license. (See

                                                                  23   Decision and Order, Stipulated Surrender of License and Order and Accusation attached to the

                                                                  24   Declaration of J. Nolan as Exhibit E). The accusation documents the Debtor issuing promissory

                                                                  25   notes in the name of the Debtor, entities in which he owned a substantial interest or controlled, as

                                                                  26   well as mischaracterizing investments to clients which in reality were merely non-recourse loans

                                                                  27   utilizing the Law Firm and Law Firm IOLTA Account. The Debtor caused to be issued promissory

                                                                  28   notes and utilized the funds as he alone directed. (See Exhibit E, Accusation, ¶¶ 19(iv), 22(d)).


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                                                                   1           In the single in-person meeting with the Trustee and representatives of the Trustee, the

                                                                   2   Debtor claimed he did not maintain financial records. (See Declaration of B. Sharp, ¶3; Declaration

                                                                   3   of N. Troszak, §3) This response is consistent with a finding by the referee in the Menlo case that

                                                                   4   the Debtor “had no legitimate recordkeeping system”. (See Exhibit B, p. 23, lns. 15-18)

                                                                   5           Since June 8, 2023, the Trustee has requested various financial documents including bank

                                                                   6   statements, disclosure and reports of entities which he holds a financial interest. (See

                                                                   7   Correspondence dated June 8, 2023, attached to the Declaration of J. Nolan, as Exhibit F, ¶8; See

                                                                   8   email dated June 28, 2023, attached hereto as Exhibit G). The demands have been repeated to

                                                                   9   multiple counsel on behalf of the Debtor and has not resulted in the production of financial records.

                                                                  10   (See email dated July 10, 2023, attached to the Declaration of J. Nolan as Exhibit H).

                                                                  11                                                      III
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                                                                  12     THE TRUSTEE IS ENTITLED TO A RULE 2004 ORDER UNDER APPLICABLE LAW
                                        LOS ANGELES, CALIFORNIA




                                                                  13           Bankruptcy Rule 2004 provides that “[o]n motion of any party in interest, the court may
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                                                                  14   order the examination of any entity.” Fed. R. Bankr. P. 2004(a). Examinations under Bankruptcy

                                                                  15   Rule 2004 include within their scope, inter alia, any matter that may relate to the property and assets

                                                                  16   of the estate, the financial condition of the debtor, and any matter that may affect the administration

                                                                  17   of a debtor’s estate, or to the debtor’s right to a discharge. See Fed. R. Bankr. P. 2004(b). In

                                                                  18   addition, the attendance of a person at an examination may be ordered by the Court “at any time or

                                                                  19   place it designates, whether within or without the district court wherein the case is pending.” Fed. R.

                                                                  20   Bankr. P. 2004(d). The Bankruptcy court has broad discretion in issuing a 2004 examination. In re

                                                                  21   Deshetler, 435 B.R. 295, 302 (Bankr. S.D. Ohio 2011)

                                                                  22           It is the debtor's duty to provide the required information of creditors and assets to a trustee

                                                                  23   which is crucial to the working of the bankruptcy system. Clippard v. Russell (In re Russell), 392

                                                                  24   B.R. 315, 358 (Bankr. E.D. Tenn. 2008) The required information is needed for a variety of purposes

                                                                  25   in the administration of the bankruptcy case. Id. The debtor's obligation to provide the required

                                                                  26   information is a cost imposed on the debtor for the benefit of obtaining bankruptcy relief. Id.

                                                                  27           The Debtor has failed (or refused) to produce various financial records to support claims

                                                                  28   made to the Trustee and/or evidence of the financial condition despite multiple requests. (See


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                                                                   1   Declaration of N. Troszak, ¶3.) This list includes: bank statements, payments for investments in

                                                                   2   various life insurance policies, credit card statements, access to his computers, disclosure of entities

                                                                   3   in which he holds a financial interest, and the list goes on. The lack of meaningful production of

                                                                   4   financial records produced to the Trustee means the Trustee must seek the financial information

                                                                   5   from third parties. Similarly, the plethora of claims by creditors in the estate, as well as various

                                                                   6   findings from sister courts and litigation pending therein, describe a picture of commingling and

                                                                   7   diversion of funds.

                                                                   8           The purpose of a Bankruptcy Rule 2004 examination is “to allow inquiry into the debtor’s

                                                                   9   acts, conduct or financial affairs so as to discover the existence or location of assets of the estate.”

                                                                  10   In re Dinbilo, 177 B.R. 932, 940 (E.D. Cal. 1993); see also In re N. Plaza LLC, 395 B.R. 113, 122,

                                                                  11   n. 9 (S.D. Cal. 2008) (purpose of Bankruptcy Rule 2004 examination is “discovering assets and
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                                                                  12   unearthing frauds”) (internal citations omitted); In re Fearn, 96 B.R. 135, 138 (Bankr. S.D. Ohio
                                        LOS ANGELES, CALIFORNIA




                                                                  13   1989) (rule’s primary purpose is to ascertain “the extent and location of the estate’s assets [and]
                                           ATTORNEYS AT LAW




                                                                  14   examination is not limited to the debtor or his agents, but may properly extend to creditors and third

                                                                  15   parties who have had dealings with the debtor.”) (internal citations omitted). In addition,

                                                                  16   Bankruptcy Rule 2004 is a discovery tool that can be used as a pre-litigation device to determine

                                                                  17   whether there are grounds to bring an action to determine a debtor’s right to discharge a particular

                                                                  18   debt. See In re Corso, 328 B.R. 375, 383 (E.D.N.Y. 2005).

                                                                  19           The scope of an examination permitted under Bankruptcy Rule 2004 is “exceptionally

                                                                  20   broad.” In re N. Plaza LLC, 395 B.R. at 122 n. 9; see also In re W&S Investments, Inc. 1993 U.S.

                                                                  21   App. LEXIS 2231 at *6 (9th Cir. Jan. 28, 1993) (“The scope of inquiry permitted under a Rule 2004

                                                                  22   examination is generally very broad and can legitimately be in the nature of a ‘fishing expedition.’”)

                                                                  23   (internal citations omitted). This broad inquiry extends to third parties as well: “Because the

                                                                  24   purpose of the Rule 2004 investigation is to aid in the discovery of assets, any third party who can be

                                                                  25   shown to have a relationship with the debtor can be made subject to a Rule 2004 investigation.” In

                                                                  26   re Ionosphere Clubs, Inc., 156 B.R. 414, 432 (S.D.N.Y. 1993); see also In re Mittco, Inc., 44 B.R.

                                                                  27   35, 36 (Bankr. D. Wis. 1984) (“When there is a showing that the purpose of the examination is to

                                                                  28   enable a party to probe into matters which may lead to the discovery of assets by examining not only


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                                                                   1   the debtor, but also other witnesses, such inquiry is allowed.”). This is because “[t]he clear intent of

                                                                   2   Rule 2004 . . . is to give parties in interest an opportunity to examine individuals having knowledge

                                                                   3   of the financial affairs of the debtor in order to preserve the rights of creditors.” In re GHR

                                                                   4   Companies, Inc., 41 B.R. 655, 660 (Bankr. D. Mass. 1984). “The purpose of the Rule 2004

                                                                   5   investigation is to aid in the discovery of assets, any third party who can be shown to have a

                                                                   6   relationship with the debtor can be made subject to a Rule 2004 investigation.” In re Ionosphere

                                                                   7   Clubs, Inc., 156 B.R. 414, 432 (Bankr. S.D.N.Y. 1993), aff’d, 17 F.3d 600 (2d Cir. 1994).

                                                                   8           In the present case, good cause exists to issue the subpoena as the Trustee must locate

                                                                   9   reliable records to determine the financial affairs and condition of the Debtor in order to preserve the

                                                                  10   rights of creditors. The Debtor’s statements that he does not maintain financial records regarding his

                                                                  11   acts, conduct, property and financial conditions means the Trustee must go to third parties. (See
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                                                                  12   Declaration of N. Troszak, §3) There has been a litany of state court filings and litigation, including
                                        LOS ANGELES, CALIFORNIA




                                                                  13   findings of fact, calling in to question conduct of the Debtor and his financial dealings. Various
                                           ATTORNEYS AT LAW




                                                                  14   findings during litigation document the commingling of monies, investments, and trust accounts.

                                                                  15   Allegations of misappropriation of funds and the establishment of lines of credit to burden or

                                                                  16   securitize assets of clients call into question business conducted by the Debtor and the location of

                                                                  17   missing assets. This conduct has spawned a mountain of litigation which has the potential to

                                                                  18   undermine the efficient and economic administration of the bankruptcy case. For these reasons, the

                                                                  19   Trustee seeks the production of records to investigate and determine the underlying facts.

                                                                  20           The proposed examination cannot proceed at this time under Bankruptcy Rule 7030 or 9014

                                                                  21   because Debtor is not a party to any pending adversary proceeding or contested matter that

                                                                  22   encompasses the matters addressed in this Motion.

                                                                  23                                                     IV.

                                                                  24                                              CONCLUSION

                                                                  25           For the reasons set forth above, the Trustee respectfully requests that this Court enter an

                                                                  26   order to be lodged consistent with the Motion herewith granting this Motion in its entirety and

                                                                  27   (a) authorizing the Trustee, pursuant to Bankruptcy Rules 2004 and 9016, to issue a subpoena

                                                                  28   substantially in the form attached hereto as Exhibit I, for the production of financial records


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                                                                   1   including supporting bank statements, copies of checks, and deposit slips and (b) answer written

                                                                   2   questions on deposition; and (c) granting such other and further relief as this Court deems just and

                                                                   3   proper.

                                                                   4   Dated: August 16, 2023                       PACHULSKI STANG ZIEHL & JONES LLP

                                                                   5
                                                                                                                    By: /s/ Jeffrey P. Nolan
                                                                   6                                                    Jeffrey N. Pomerantz
                                                                                                                        Jeffrey W. Dulberg
                                                                   7                                                    Jeffrey P. Nolan
                                                                   8                                                        Proposed Attorneys for
                                                                                                                            Bradley D. Sharp, Chapter 11 Trustee
                                                                   9

                                                                  10

                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                        LOS ANGELES, CALIFORNIA




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                                           ATTORNEYS AT LAW




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                                                                   1                                 DECLARATION OF BRADLEY D. SHARP

                                                                   2           I, Bradley D. Sharp, declare:

                                                                   3          1.        I am the President and CEO of Development Specialists, Inc. (“DSI” or the “Firm”).

                                                                   4   I have personal knowledge of the facts stated in this Declaration, and if called as a witness, I could

                                                                   5   and would testify competently to these facts.

                                                                   6          2.         I make this declaration in support of the application (the “Application”) filed by the

                                                                   7   Trustee seeking an Order Authorizing the Production of Documents and Examination of Axos

                                                                   8   Pursuant to Fed. R. Bankr. P. 2004.

                                                                   9          3.        I met with the Debtor on or about May 31, 2023. At that time, the Debtor indicated

                                                                  10   he did not maintain personal financial records for the various assets disclosed on his schedules. The

                                                                  11   Debtor claimed he did not maintain records for his financial affairs.
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12           I declare under penalty of perjury pursuant to the laws of the United States that the foregoing
                                        LOS ANGELES, CALIFORNIA




                                                                  13   is true and correct.
                                           ATTORNEYS AT LAW




                                                                  14                         16th day of August, 2023, at Los Angeles, California.
                                                                               Executed this ____

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                                                                                                                       Bradley D. Sharp
                                                                  18                                                   Chapter 11 Trustee

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                                                                   1
                                                                                                      DECLARATION OF JEFFREY P. NOLAN
                                                                   2

                                                                   3           I, Jeffrey P. Nolan, declare:

                                                                   4           1.         I am an attorney at law duly licensed to practice before all courts in the State of

                                                                   5   California. I am an attorney with the law firm of Pachulski Stang Ziehl & Jones LLP, proposed

                                                                   6   attorneys of record for Bradley D. Sharp, Chapter 11 Trustee of the estate of Leslie Klein (“Klein” or

                                                                   7   the “Debtor”). The facts stated herein are of my own personal knowledge, or made known to me

                                                                   8   from a review of the files and pleadings in this action which are maintained in the ordinary course of

                                                                   9   business. If called upon as a witness to any facts set forth herein, I could and would competently

                                                                  10   testify thereto.

                                                                  11           2.         The examination requested through the Motion cannot proceed under Federal Rules
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   of Bankruptcy Procedure 7030 or 9014 because no adversary proceeding or contested matter is
                                        LOS ANGELES, CALIFORNIA




                                                                  13   currently pending encompassing the matters subject to inquiry.
                                           ATTORNEYS AT LAW




                                                                  14           3.         Attached hereto as Exhibits A, is a true and correct copy of the Complaint for (1)

                                                                  15   Fraud; (2) Breach of Fiduciary Duty; (3) Conversion; (4) Money Had And Received; (5) Unjust

                                                                  16   Enrichment and (6) Accounting filed in the Superior Court of the State of California, Case Number

                                                                  17   21 ST CV 31915, Vendriger, et al v. Klein.

                                                                  18           4.         Attached hereto as Exhibit B, is a true and correct copy of the Report and

                                                                  19   Recommendation of the Court-Appointed Referee on Examination and Adjudication of the Trustee’s

                                                                  20   First, Second, and Third Accountings On Each of the Twenty-Four Trusts At Issue For the Trust

                                                                  21   Periods September 10, 1996-June 30, 2013, July 1, 2013-December 31, 2016 And January 1, 2017-

                                                                  22   September 30, 2018, as attached to proof of claim 13-2 filed by the Menlo Parties in the United

                                                                  23   States Bankruptcy Court, Central District of California, in case number 2:23-bk-10990-SK.

                                                                  24           5.         Attached hereto as Exhibit C is a true and correct copy of the Vago v. Klein

                                                                  25   Complaint to Determine the Nondischargeability of Certain Debts owed by Debtor Leslie Klein to

                                                                  26   Erica and Joseph Vago Pursuant to 11 U.S.C. §523, and To Deny Discharge Pursuant to Section

                                                                  27   727(A)(12) and filed in the United States Bankruptcy Court, Central District of California, in case

                                                                  28   number 2:23-bk-10990-SK.


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                                                                   1           6.       Attached hereto as Exhibit D is a true and correct copy of the Mermelstein v. Klein

                                                                   2   Complaint for Nondischargeability of Debt Pursuant to 11 U.S.C. §523(a)(2)(A), 11 U.S.C.

                                                                   3   §523(a)(4) & 11 U.S.C. §523(a)(6) & for Denial Of Discharge Pursuant to 11 USC §727(a)(2)(A);

                                                                   4   11 USC §727(a)(2)(B); 11 USC §727(a)(3); 11 USC §727(a)(4)’ 11 USC §727(a)(5), and filed in the

                                                                   5   United States Bankruptcy Court, Central District of California, in case number 2:23-bk-10990-SK.

                                                                   6           7.       Attached hereto as Exhibits E is a true and correct copy of the Decision and Order,

                                                                   7   Stipulated Surrender of License and Order and Accusation issued by the California Board of

                                                                   8   Accountancy, Department of Consumer Affairs, State of California, as printed from the state

                                                                   9   website.

                                                                  10           8.       Upon information and belief, the Debtor maintained a business relationship with

                                                                  11   Axos and maintained a number of accounts based upon my review of records. While some
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                                                                  12   documents have been produced voluntarily, a subpoena is necessary for many requested records
                                        LOS ANGELES, CALIFORNIA




                                                                  13   following bank protocol.
                                           ATTORNEYS AT LAW




                                                                  14           9.       As counsel to the Trustee, we requested financial records and bank statements from

                                                                  15   the Debtor on June 8, 2023. (See Correspondence dated June 8, 2023, attached hereto as Exhibit F)

                                                                  16   On June 28, 2023, the Trustee again requested the bank statements. (See email dated June 28, 2023,

                                                                  17   attached hereto as Exhibit G). The Trustee made the same request when introduced to new counsel

                                                                  18   for the Debtor on July 10, 2023. (See email dated July 10, 2023, attached hereto as Exhibit H). No

                                                                  19   bank statements or financial records have been received from the Debtor in response thereto.

                                                                  20           10.      Pursuant to Local Bankruptcy Rule 2004-1(a), the Plaintiff contacted Axos to arrange

                                                                  21   for a mutually agreeable date, time, place, and scope of the examination sought in the Motion. The

                                                                  22   Proposed Examinee will produce the documents requested on reasonable notice to its subpoena

                                                                  23   process serving unit. Notice of this Motion has been given to the Debtor/consumer and the United

                                                                  24   States Trustee’s Office.

                                                                  25           11.      The Debtor therefore requests authority to issue a subpoena to the Proposed

                                                                  26   Examinee substantially in the form attached hereto as Exhibit I.

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                                                                   1           I declare under penalty of perjury pursuant to the laws of the United States that the foregoing

                                                                   2   is true and correct.

                                                                   3           Executed this 16th day of August, 2023, at Los Angeles, California.

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                                                                   5                                                      /s/ Jeffrey P. Nolan
                                                                                                                             Jeffrey P. Nolan
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P ACHULSKI S TANG Z IEHL & J ONES LLP




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23ÿbKGcÿK\\MNGH_deÿfFFgÿPYRTRRRÿMOÿKHHM]GJhi_ÿOJJ_eÿfFFFgÿPZTQRRÿOM]ÿjklÿOJJ_TÿjMN]Hÿ\M_H_TÿKGDÿ
24ÿm%"$ÿ4ÿ%ÿ2"83ÿ;056/684ÿ"ÿ<ÿ!"%ÿÿ2 8/ÿ20/ÿ%ÿ200,ÿÿ0&"ÿ%ÿÿ#&ÿ
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 0ÿ 2 ÿÿÿ!ÿÿ"ÿÿ#ÿ"$ÿ%!&$'ÿ!ÿ()&ÿ*+!$$
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 0ÿ 26 ÿÿÿ!"!#ÿ$"!ÿ%&ÿ"!ÿÿ''(!")ÿ!ÿ%!ÿ!&!*!&
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0ÿ 28 ÿÿÿ!"!#ÿ$"!ÿ%&ÿ&!ÿ%!ÿ(&ÿ%ÿ'&(!
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03ÿ 29 ÿÿÿ!"!#ÿ$"!ÿ%&ÿ"&ÿ")!ÿ*!&ÿÿ%&ÿ!
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05ÿ,"<=ÿB9I9@C9JÿJ9K@;J=ÿ?DBÿJ:=CB:LAC:D;=ÿCDÿL9ÿK@J9ÿCDÿ@MD:Jÿ,"ÿ!'+ÿ!&(!ÿ
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20ÿA=9Jÿ@=ÿ@ÿ8@XY9B<=ÿIB:M@C9ÿL@;Zÿ@[[DA;Cÿÿ\:=A=9ÿD?ÿ@;ÿ@CCDB;9Y<=ÿCBA=Cÿ@[[DA;Cÿ:=ÿ@KD;]ÿC^9ÿKD=Cÿ
22ÿ!+!+(&ÿ&'('&ÿÿ!)ÿ'ÿ'ÿÿE%&ÿ&ÿ%!ÿ&ÿÿ'('ÿ%ÿ"!&ÿÿ%!ÿ
23ÿIAL8:[<=ÿK:=CBA=CÿD?ÿC^9ÿ89]@8ÿIBD?9==:D;_ÿ
24ÿ 30 ,"ÿ:=ÿ=99Z:;]ÿJ@K@]9=ÿ@;Jÿ@CCDB;9Y<=ÿ?99=ÿ@;Jÿ[D=C=ÿA;J9ÿ,!ÿ̀!ÿa
25ÿbcdÿ@=ÿ@ÿB9=A8CÿD?ÿ789:;<=ÿL@Jÿ?@:C^ÿXBD;]?A8ÿC@Z:;]eÿ[D;[9@8:;]eÿ@;JfDBÿJ:=ID=:;]ÿD?ÿIBDI9BCYÿ
26ÿ !"++ÿÿÿ(&ÿ
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 0ÿ 32 ÿÿÿ!"#ÿÿ#ÿÿ$ÿ!ÿ%ÿÿ$$ÿ
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 6ÿ                                  DEFÿHFIÿDÿ  ÿ
 7ÿ                                JDKLMNÿOÿPLQRSTÿUUÿVWXWRNLRTSYÿ
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0ÿ 34 Z&ÿ[ÿ$ÿ&ÿÿÿ\+!ÿ]$-(ÿ&ÿ^+#ÿ+$
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03ÿ-ÿ&ÿ_&ÿ]!!'(ÿ)&ÿÿa&!&ÿaÿ&$ÿ)#ÿb]cd]ÿZec,fdgef(ÿ+#(ÿ$ÿÿ
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7'
                                                   FIRST AMENDMENT TRUST
                                                     WENORIGER FAMILY

                  THIS FIRST AMENDED TRUST AGREEMENT r eplaces the prior Trust
                  Agree111ent dated July 10, 1986, and is entered into by and
                  between OSCAR WENDRIGER and TANIA WENDRIGER, "HusbandN and
                  "Wife," respectively, of the County ot Lo& Angeles, in the
                  State of California, hereinafter called 11·Trustors," and OSCAR
                  WENDRIGER and TANIA WENDRIGER ot tho Stato ot California,
                  horoinaft•r r•f•rred to as "Cotrustees. M
                  In construing this Trust the fo~lowing definitions shall
                  apply:
                  l.   Whenever used herein the expression "Trustors" shall
                  refer to OSCAR WENORIGER and TANIA HENORIGER.
                  2.   Whenever used herein the expression °0riginal
                  cotrustees" shall refer to OSCAR WENDRIGER and TANIA
                  WENDRIGER.
                  J.   Whenever used herein tho oxpression "Original cotrustec"
                  shall refer to either OSCAR WENDRIGER or TANIA WENDRIGER,
                  4.   Whenever used herein the expression NSuccessor Trustee"
                  shall reter to JACOB a . k.a. YAACOV VENDRIGER and ADI
                  VENDRIGER.
                  5.   Whenever uaed herein the expression "Alternate Trustee"
                  shall refer to the surviving successor Trustee and SHLOMO
              ~   MENl<ES.
                  6.    Whenever used herein the expression "Trustee" shall be
                  deeme d a reference to whomever is serving as Truste e, or
                  Cotrustees, whether original, successor or alternate.
                  7.    Tho ini tial primary beneticiarie• ot this Trus t Est ato
                  shall be OSCAR WENDRIGER and TANIA WENDRIGER.
                  8.    The effective date of this Trust Agree.ment shall. be its
                  date of execution.

                  I.     TRUST PROPERTY
                         A.     Original Trust Estate
                           The Trustors a cknowledge that they have transferred
                  to the Trustee without consideration the sum of ton dollars,
                  along with the foll owing:
                  PERSONAL PROPERTl: All tangible and intangible held personal
                  property that the Truetors, either separately or as COJIIJIIUnity
                  property, now own or do hereafter acquiro, including but not


                                           REVOCABLE LIVING TRUST Pagel


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    limited to household furniture, furnishings, and utensils;
    equipment and appliances; a rt; clothing; cash; personal
    effects; bank accounts; registered and unregistered
    securities; notes receivables security interests and liens;
    interests in partnerships, firms, businesses (including
    inventory), and corporations ; contract rights; ana a~ounts
    due from e~ployers; excluding, however, any and all such
    property subject to any (other) trust or power of
    appointment; and any property subject to a pledge, security
    agreement or legal restriction on transfer,
    All such property owned by Tru•tora shall bo considered and
    treated as co1U11unity property unless listed as separate
    property in this Trust on Schedule B (the separate property
    ot husband, it any), and in Schedule c (the separate property
    of wife, if any).
    All such property, which is hereby delivered by the Trustors
    to the TrUstee, shall be held, administered, and distributed
    by the Trustee as hereinafter set forth.

         B.   Additions to Trust Estate
             Additional property may be added to the Trust Estate
    at any time by the Trustors or either o! the~, or by any
    person or persons, by inter vivos or testamentary transfer.
    All such original and additional property is referred to
    herein collectively as the Trust Estate, and shall be held,
    managed cmd distributed as here.in provided.
              i.   Enlployee Benefit Plans
                 In the event that any designation ot the Trustee
    o~ this Trust as Beneficiary i n any employee benefit plan in
    which the Trustor• may have an i nt•r••t shall be inettectual
    in whole or in part, the Trustors specifically request that
    the co111111ittee, or other group having authority to do so under
    any suoh plans, ••lect the Trustee of the Trust as
    beneficiary of such plans to the ~axi.um extent possible ,
    The Tru~tQQ may aleot the mode of payment which, in the
    Trustee's discretion, appears to be the most advantageous
    option available to the Trust and/or lts then current income,
    Beneficiaries in terms ot income ta~. estato and inhoritane•
    tax, and/or inv,stment return considerations, based on the
    Trustee's evaluation ot the facts and circu•stances relevant
    to such conQiderations as they exist at the time the Trustee
    makes such election. FUrther , the Trustee nay, predicated
    upon th• foregoing consideration, elect in writing not t o
    treat the death benefits as a lump aWR distribution tor
    income tax purposes and thus exclude the maximum allowed from


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                eatate taxes . An election by a T~stee in good faith in the
                exaroiae of the discretionary power conferred upon it shall
                be final and binding upon all paraon• whoJ11SOaver and shall be
                a full acquittance and discharge to the Truatea, and the
                Truatee shall not be liable to .any peraon by reaaon of its
                exerciaa of such discretionary power.         ·
                           c.      Character of Property Unchanged
                           Tb• property comprising the original corpua of the
                '?r\Ult Estate is comaunity property of the Truatora, except as
                otlierwi•• specifically indicated. During the joint lives of
                the Truators, any property tranaferre4 to this Truat shall
                retain it• original character. All such property •hall be
                aaaUJlled to be community property unl••• otherwise
                epeoifically indicated in writinq by the TrUatora. In the
                event or revoCatio~, the Truetee eha11 diatributo •ugh
                property to the Truatora baaed on the sue property rights
                they had prior to transfer to the Tnaat. Any and all gifts
                made by the Truetora of Trust                       ••••t•
                                                       ah.all constitute a
                revocation by the 1'ruators as to such property, and,
                therefore, a gift by any Truator having an interest in that
                property would al•o constitute a revocation.
                 II.       ORJ:GINAL AND SUCCESSOR 'l'RUSTDS
                           A.      ~~i9inal Cotruat•••
                                   Th• Original Cotrustaas UJJder this Declaratipn ot
                Trust shall be as hereinabove defined, to serve with all of
                the obligation, powers, and authori:ty contained within this
                Truat Agreament.
                           D.      Death or Resignation of Qriginal Cotruatea
                         In the event of the death of either original
                cotrustee, or if for any reason whatsoever he or she ceases
                to serve as cotruatae b.ereunder, the T1;U•tore nomi1Ulte ·can<1
                appoint the remaining cotruatee to serve aa Trustee hereunder
                without the approval Qf any Court.
                         In the event of the death of both Original
               cotrustees, or if tor any reason whatsoever both cease to
               aerve as Trustee hereunder, the TrUatora nominate and appoint
               the successor 'l'rus·t •• aa hereinabove defined to serve aa
               Trustee hereunder without the approval of any court. In the
               event that the abovenamed Successor 'l'rustee consist• of more
               th.an one peraon then if for any raa•on whatsoever any of the
               aroresaid do not serve or cease to serve as cotruatee
               hereunder, tha irrustora nominate and appoint wh011soevar ot


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     the aforenaaed •hall be available to serve ae Successor
     Trustee hereunder without the approval of any court.
             In the event of the death of the successor Trustee
    as hereinabove defined, or if for any reason whatsoever he,
    she, or they cease(s) to serve or for any reason refuses to
    serve as Trustee hereunder, the Truators no~inate and appoint
    the designated Alternate Trustee to serve as Tru~tee
    hereunder without the approval ot any court. xn the event
    that the Alternate Trustee consists of more than one person
    then if for any reason whatsoever any of the aforesa!d do not
    serve or cease to serve as Cotnistee hereunder, the Trustors
    nominate and appoint whomsoever of the aforenaaed shall be
    available to serve as successor Trustee hereunder without the
    approval of any court.
             In the event of the death of the original Trustors
    hereof, and in the event that neither the aforenamed
    Successor Trustee or the a!orementioned Alternate Trustee is
    available then the majority o! then living beneficiaries
    hereunder who are issue of the Original Trustors hereof shall
    have the right to select another Successor Trustee hereunder
    to serve without approval ot any court. In the case ot minor
    beneficiaries, then any guardian of such a beneficiary shall
    act on behalf of such ~inor beneficiary to select a successor
    Trustee.
          c.    Discharge or Resignation of Trustee
             The Trustors &hall have tha ri9ht to discharge the
    Trustee of any Trust hereunder. Discharge of a Trustee shall
    be by delivery to such Trustee of thirty (JO) daya' written
    notice of discharge, accompanied by the name ot the intended
    Successor Trustee.
          D.    Duties and Responsibilities of Successor Trustees
             No successor Trustee shall have any responsibility
    tor any acts or omissions ot any prior Trustee and no duty to
    audit or investiaate the accounts or adlllini$tr~tion of any
    11uc;.h Tru•~•o; nor, ... nl ... o ln wr.i.tin,y             te•flU••~cia ~o do ao by :a
    parson having a present or future beneficial interest under a
    Trust hereunder, any duty to take action to obtain redress
    for breach oft.rust. It is the intent ot the Original
    Truetors that the successor Trustee shall not be required to
    obtain court approval, discharge, or pursue any other Court
    proceedings at the request ot incOll\e Beneficiaries without
    first attempting to obtain releases troll the majority of the
    adult incoae Beneficiaries with such release and discharge
    being complatoly adequate as to all responsibilities


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    incumbent upon the Trustee . However, under any
    circumstances, any claim or action against any previous
    Trustee must in any event be asserted or tiled by any
    Beneficiary within one (1) year after the appointment of a
    Successor Trustee.
           E.   Bond
             No Trustee shall be required to post bond or any
    other security for the faithful pertoraance of any duties or
    obligations of such office.                         .,
    III, INITIAL TRUST
          The Trustee shall hold, manage, invest, and reinvest the
    Trust Estate and shall collect the income thereof, and shall,
    upon demand of the Trustors, pay to the Trustors during their
    joint lives all community net income of tha · Trust Estate and
    shall pay to each Trust~r all separate net income from his or
    her respective share of the Trust Estate. In the event that
    the Trustors do not demand payment of the net income of
    CODllllunity property, or it either of the Trustors fails to
    demond distribution of 6eparate property net income, then the
    Trustee may at his discretion accumulate such income, and
    such inco~e will becol'De property of the Trust Estate.
         The Trustee shall further pay colllJl\unity property
    principal, up to the whole thereof, to the Trustors upon
    written request. Upon the written request of the Truator who
    transferred separate estate property to the Trust, the
    Trustee shall pay so much of the principal of the separate
    estate established by such Trustor, up to the whole thereof,
    as he or she ahall request.
    IV,   REVOCATION AND AMENDMENT
          Either of the Trus tors, during their joint lives, may at
    any time and upon succe ssive occasions, revoke this Trust in
   whole or in part.      The Trustors may jointly alter or amend
    any of its provisions .     Any Amendment may be similarly
   cancelled or amended . It a Truster ls incompetent, such
   power to revoke, alter or amend the Trust may be eKeroised by
   the guardian or conservator at the direction of a court of
   competent jurie4iction where such court approval i~ raquirod.
          From and after the death of Githor of the Original
   Truators, this Agreement, · insofar as it relates to the
   SURVIVOR'S TRUST, may be revoked or amonded at any time and
   from til'IO to time by the Survivor delivering written notice
   of revocation or amendment to the Trustee; provided, however,


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        that the duties and liabilities ot th• Trustee cannot be
        increased without ·its .consent. In the event or any
        revocation, the revoking party or parties .shall inde:mnify the
        Trustee in a manner satisfactory to it against liabilities
        lawfully incurred by th• Tru•t•• in th• conduct of its
        office. If a survivor is ino011petent, such power to revoke,
        alter or a.end the Trust may be exerciaed by the guardian or
        conservator at the direction of a court of co~petent
        jurisdiction.     Bxcept as hereinabove provided, this
        Agreement, and the Trusts evidenced hereby, are irrevocable
        and shall not be sul:>ject to amendment.
        V.   DISTRIBtJ'l'IONS ON DEATH OF EITHER TRUSTOR
             Upon the death of the original TrUstor hereof whose
        death shall occur first. the Trustee Shall make any such
        distributions of specific gifta which are itemized and listed
        on Schedule D (the Specific Gift Distribution Schedule) which
        ia attached hereto and incorporated herein by reference.
        With reference to any specific gifts 11a.da in accordance with
        Schedule D, whether referenced in this Article v or Article
        VI below, the following ahall apply. In the event that a · ·
        Beneficiary does not survive the decedent spouae, any gift to
        the deceased Beneficiary shall lapse and pass as part of the
        rest and residue of the 'l'rUat Estate.
             ~haroa~tor, tho TrUatoo •hall divido tho ~ruat Eatato,
        including all property received as a result of the Decedent's
        death, into two parts, each part to be administered as a
        separate Trust to be known respectively as the 11 SURVIVOR'S
        T.ROST," and the .. DECBDBNT'S T.Rt1S'1' . " Reference hereafter to
        the "DECEDENT" shall refer to either of the Trustors whose
        death shall first occur, and reference to the "SURVIVOR•
        shall refer to the survivinq Truster.
             A.   Decedent's Trust
                  Th• DSCBCEN'l''S TRUST •ha11 include an alllOunt equal
        to the lesser of the equivalent Estate Tax Exemption in
        ef!eot 'during the year or the death of the decedent, or one-
        half (l/2) of the 'l'rUst Estate.
                 As a method of illustration of speci,f ic amounts for
        the Estate Tax EXemption, the Trustee is directed to




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       distribute to the DBCBDENT'S 'l'RUST an amount equal, in each
       year, to the aaounta as indicated below.

                                               EQUIVALENT ESTATE
                  DATE or DEATH                    TAX BXEKPTIOH
                  1990 and after                          $600,000

                  In determining the equivalent :r:atAte Tax Exemption,
       the Trustee ia to take into consideration any litetillle gifts
       made which may decrease the actual amount availabia to
       transfer to the DBCBDBN'r'S 'l'RUST. The Truators acknowledge
       that their intent is that the aJDount to~• distributed to the
       DBCEDEN'l''S 'l'RUS'l' shall not exceed an amount which will
       provide tor a zero (O) tax upon the death of the first of the
       Trustora to die.
             B.   survivor ' s 'l'ruat
                All at tha raGt and residua ot the assets ot the
       Trust Estate shall be allocated to the SURVIVOR'S TRUST.
             c. other Transfers
                 In the event that property ia received by th•
       TrUatee , either by rnter Vivo• or Testamentary Transfer, and
       directions are contained in the Instrument ot Transfer tor
       allocation to or between the SURVJ:VOR'S 'l'RUST and the
       DECEDENT'S 'l'ROST, then the 'l'rustee shall malc:e allocation i n
       accordance with auch directions, anything to the contrary
       notwitbetandin~ .     In the event no s~ci!io in•~rue~ion• aro
       given as to allocation, such property as is received trom a
       source other than the Trustors (or either of them), shall be
       placed in the SURVIVOR'S TRUST.
       VI.   SURVIVOR'S TRUST
             A.   Distribution of Income
                All the net income shall be distri))uted in
       convenient installments not less trequently than quarterly to
       the Survivor during h1e or her i1ret1me.
             B.   Powers of Appointment ot Principal
                During hi• or her life~iae, the Survivor ahall have
       a general power to appoint the principal and any
       undistributed income of the SURVIVOR'S 'l'RUS~ or any part
       thereof, ta hiaself or herself, or to any per•on or persons.



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              Upon the death of the Survivor, he or she shall have
     the power to appoint the principal and any undistributed
     income of the SURVIVOR'S TRUST or any part thereof to his or
     her Estate or any person or persons, or to the DECEDENT'S
     TRUST. Such power of appointment shall be exercised only by
     means of written directions executed by the Survivor and
     delivered to the Trustee during the lifetime of the survivor.
     If the Survivor executes and delivers nore than one such
     written direction to the Trustee, the last one .shall control
     unless, by its context, the Survivor clearly indicates
     otherwise.                                           ,·
         c. Death of survivor
                                       ..
             Upon the death of the Survivor, the SURVIVOR'S TRUST
    shall terminate. The Trustee shall distribute the Trust
    Estate in accordance with and to the extent provided by the
    survivor's exercise of his or her powe r of appointment. All
    specific gifts itemized and listed on Schedule D hereof to be
    distributed by the Trustee at that time shall then be
    distributed by the Trustee. Any part ot the Trust Estate
    with respect to which the Survivor shall not have exercised
    his or her power of appointment shall beco11e a part of the
    trust established under Article VIII hereof, and be        ·
    administered by the Trustee, in accordance with the
    provisions set forth herein.
    VII. DECEDENT'S TRUST
         A.   Distribution of Incone
             Allot the net income chall be distributed in
    convenient installments, not less frequently than quarterly,
    to the Survivor during his or her lifetime.
         8,   Distribution of Principal
              The Trustee shall also distribute principal to the
    survivor, which in the sole discretion or the Trustee is
    necessary to provide proper support for the Survivor as
    defined under Article IX and Article XIII, A.2.
         C,   Survivor's Power of AppointMent

             The Survivor, during his or her lifetime, shall have
    the power to appoint the principal and undistributed incomQ
    of the Trust Estate, or any part thereof, to himself or to
    herself, or to any parson or parsons; however, the survivor
    may exercise said power of appointment during any calendar
    year only to the extent of Five Thousand Dollars ($5,000) or


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    five percent (5%) of the aggregate value of the Trust Estate,
    whichever amount shall be greater, Any such power ot
    appointment shall not be construed to be cumulative and if
    not exercised in any calendar year, such power shall be
    terminated as to that year. Such power of appointment shall
    be exercised only by means of written direction executed by
    the Survivor and delivered to the Trustee during the lifetime
    of the survivor. If the survivor executes and delivers more
    than one such written direction to the Trustee, the last one
    shall control unless, by its context, the survivor clearly
    indicates otherwise.                                 l

         D.   Death of Survivor
             Upon the death of the survivor, the DECEDENT'S TRUST
    shall terminate, and shall become a part of the Trust created
    under Article VlII, and be administered in accordance with
    the provisions of said Article.
    VIII.CHILDREN'S TRUST
        A,    Income and Principal Prior to Division
              Prior to division of the Children's Trust as
    provided for in Paraqraph c hereinafter, the Trustee is
   directed to add any undistributed income to the principal .
         B,   Advancements
              1.   Request for Advancements
                   Any Beneficiary of this TrUst may, at any time,
   and upon successive occasions, by written instrwnent filed
   with the Trustee, request an advancement or advanceMents on
   his or her ultimate anticipated share ot the Children's
   Trust. If, in its solQ discretion, the Trustee determines
   that the requested advancement or advancements will be used
   tor a worthy objective then the Trustee may make such
   advancement or advancements in whole or in part from the
   Beneficiary's share of the Trust. As used herein, the term
   "worthy objectives" may include, but not be limited to, the
   purchase of a home appropriate to the needs and circumstances
   of the Beneficiary; the acquisition of a business interest in
   keepinq with the .age, training and experience of the
   Beneficiary, provided that such business interest is needed
   for the support of the Benericiary and his or her family, and
   £ur~her provided thGt there lo G reGeonable p~obaLilit1 u£
   success in the judg111ent of the Trustee; and the continuance
   of the education of any Beneficiary on a full-time progran in
   an institution of higher learning either on an undergraduate


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    or graduate level or at a trade or vocational school, with
    expenses including, but not limited to, tuition, books,
    laboratory fees, room, board and a reasonable spending
    allowance. The Trustee shall incur no liability or
    obligation to any Beneficiary or any othe r pers on by an
    exercise, or nonexercise, in good faith of its discretion
    hereunder.

         c. Division of Children's Trust
              l.   Time of Division
                    The Children's Trust shall be divided into
    shares ill\Jl\ediately upon the death of the survivor of the
    Original Trustors.
              2.   Terms of Division
                 The Trustee shall divide two-thirds or all or
    the assets then re~aining in the Children's Trust, without
    making any adjustments tor payments for support and
    maintenance tor any Beneficiary as provided for under Article
    X, into equal shares with one share for each of the Trustors'
    then living children and one share for each deceased child of
    the Trustors who then has issue surviving. The sole children
    ofthe Trustors are YAACOV a.k.a. JACOB VENDRIGER and ADI
    VENDRIGER.
                 The Trustee shall divide the remaining one-third
    of tho Tru~t E~tato into a~ many ~haro~ a~ thoro aro thon
    living grandchildren . The share arising out of the existence
    of each grandchild shall be added to the share of the parent
    of such grandchild for the benefit of said parent.
                  The division shall be. on a per stirpes basis,
    except that if none of the Trustors' children survive and if
    only grandchildren survive, the division into shares shall be
    on a per oapita basis . The share ot each deceased child
    shall be divtded into proportionate smaller shares, or
    subshares, for each of such deceased child's then living
    issue. After the division ot the assets into shares and
    subshares as provided above, the shares shall be distributed
    and/or held as hereinafter provided,

         D.   Distribution and Administration of Children's Trust
             The Trustee shall distribute the respective share or
    subshare to any Beneficiary who is a child of the Trustors
    immediately upon the death of the Survivor of the Trustors .



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             Trustee shall distribute the respective share or
    subshare to any Beneficiary who has attained the age of
    thirty years old. For any Beneficiary who has not attained
    the age of 30, the following procedures shall govern.
             Upon the division of the Children's Trust into
    shares and subshares and subsequent thereto; income from each
    share or subshare therefrom shall be paid not less than
    quarter-annually to or !or the benefit of the respective
    Beneficiary. In addition to income, the Trustee shall
    distribute the principal from the respective share oi
    subshare to the Beneficiary upop the Beneficiary's attaining
    or having attained the age of 30.
             In the event a Beneficiary of the Trustors dies with
    funds remaining in his or her share or subshare, then such
    funds shall be paid to his or her then living issue, or if
    there be no living issue, then to the remaining Beneficiaries
    of the Trustors, as and in the manner provided for under
    NTerms of Division."
              In tho ovont a BQnQf.ic1~ry olGCts to hava the
    Trustee continue to administer the distributed portion of the
    share or subshare, to which such Beneficiary is entitled as
    hereinbetore provided, or any part thereof, the Trustee may
    continue to administer such Beneficiary's interest as a
    separate TrUst share in accordance with the terms of Article
    X and XI hereof, subject to the continuing right of such
    Beneficiary to withdraw at any ti~e tha amounts of said
    separate Trust share. If a Beneficiary dies with funds
    remaining in his or her separate Trust share, such funds
    shall be paid as he or she designated by testamentary or
    inter vivos disposition, and ~ailin9 sane, to his er her
    estate.    Upon the termination of any share, if any assets
    are distributable to a person who is not yet entitled to
    distribution, then the distributable share of such
    Boneficiary shall at once vest in him or her, but the Trustee
    in its sole discretion, may continue to hold such
    distributable share until said Beneficiary is entitled to
    distribution, using QO much of the income and/or principal
    thereot as may be necessary in the opinion of the Trustee for
    the support of such beneficiary and paying to such
    Beneficiary the then remaining assets of his or her share
    upon his or her becoming entitled to distribution. If the
    said Beneficiary dies prior to such time as he or she would
    bG entitled to diGtribution, all the remaining assets of such
    individual's interest in the Trust share otherwise payabie to
    him or her shall be paid to the estate of such Beneficiary.




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         E.   Provision for Grandchildren
            If, prior to the tenaination of the Children's
   Trust, any o! the Trustors' children are deceased with issue
   surviving, then the Trustee may, in its discretion, support
   such issue of deceased children as though they were children
   of the Trustors.
         F.   Termination
              1.   No Issue surviving                      ,-
                                     ..
                   In the event that no issue of the Trustors
   ~urvive t&e Trustors' deaths, or survive the distribution of
   the Trust Estate, then and in that event all of the assets
   that would have been a part of the Trust Estate shall be
   distributed in the following •anner: any assets of the Trust
   Estate which for any reason cannot be distributed in this
   manner shall be distributed fifty percent to the otherwise
   lawful heirs free of trust and fifty percent to charitable
   facilities in Israel for the benefit of injured soldiers.
              2.   Discretionary Tenaination
                Any time that a Trust or Trust share created
   under this Agreement ha~, in the judglllent of th• Trustee, a
   value so low that the expenses of maintaining the Trust
   cannot be reasonably justified, the Trustee may, in its
   discretion, but is not required to, terrainate such Trust or
   Trust share. In case of such termination, the Trustee shall
   distribute forthwith the share so ter11inated to the primary
   Beneficiaries thereof .
              3.   Mandatory Termination
                The Trust Estate shall terminate in any and all
   aventG not later than twenty-one (21) years arter the death
   of the last surviving Beneficiary herein named who is living
   at the time of death ot the Decedent, it being the intent of
   the Trustors that this Trust Agreement shall be interpreted
   so as not to violate the Rule Against Perpetuities.   The
   Trust Estate, upon such termination, shall be distributed to
   the Beneficiaries for whom, at that time, a share or subshare
   has bean set aside, each such Beneficiary to receive his or
   her share or subshare and any accumulations thereon .
   IX.   SUPPORT AND MAINTENANCE
        lf the Trustee of any Trust hereunder deems the net
   income payable from such Trust not sufficient to support any


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            Beneficiary entitled to receive suoh support pursuant to the
            terms ot this Trust Agreement, then the Trustee may, aa often
            as it deeas necessary, pay to or apply for the use and
            benefit of such Beneficiary such part of the principal of
            such Trust, up to and including the whole thereof, as the
            Trustee in its discretion believes necessary for the support
            of such Beneficiary.
                 A.   standard•
                     In exercising its discretton hereunder, the1 Trustee
            shall take into consideration tbe income, earning capacity,
            resources and other sources of receipt of the Beneficiary,
            together with any other factor which the Trustee may deem
            pertinent, including the accustomed manner of living of such
            Beneficiary, but need not require the exhaustion of personal
            resources as a condition for meking disbursements under the
            authority of this paragraph. The jud9111ent of tha Trustee as
            to the propriety and amount of all such paynents shall be
            conol.uaive.

                     Notwithstanding any provision to the contrary, the
            Trustee shall not distribute principal except within the
            standards of Internal Revenue Code 2041.
                 B.   Evidence of Need
                     The Trustee fflay, in its discretion, require as a
            condition precedent to the distribution of any Trust assets
            for support or advancement, that the BeneficiAry turnish
            evidence ot his or her financial condition, income, earning
            capacity and assets, in form and content satisfactory to the
            Trustee. The Trustee shall be entitled to rely upon the
            written certification of such Beneficiary or the guardian of
            such Beneficiary as to the nature and extent of such
            Beneficiary's needs for support, and the inadequacy of such
            Beneficiary's resources apart from the Trust. The Trustee
            shall not be required to make further inquiry as to the
            authenticity of the tacts so certified.
                 c. Preferences
                      In exercising its discretion hereunder, the Trustee
            is to consider the needs ot the survivor tor support ae the
            prilllary purpoH of- the Trusts during his or her li!eti.Jlle,
            even if the satisfaction of such needs requires invasion of
            the entire Trust Es~ate.
                     After the death of the Survivor, the support of the
            children shall be paranount to the conservation of the Truat


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   Estate for the benefit ot those who will be entitled to take
   it on termination. The Trustee ehall, in exercising the
   discretion given herein for the benefit of the children or
   their issue, do so in such a manner as will encourage thrift,
   indu5try, and salt-reliance to the maximuro extent practicable
   by the respective Beneticiariea, and discourage extravagance
   or indolence on the part of any such Beneficiary.
        o.   Guardian's and conservator's Expenditures
            The Truators do not desire that the guardiarr'' or
   conservator of any Deneticiary should incur personal axpansg
   for the support of such Beneficiary. The Trustee shall
   disburse funds from such Beneficiary's Trust Estate tor the
   purpose of reimbursing such guardian or conservator for
   reasonable expenses incurred in accommodation of such
   Beneficiary.
   X,   POWERS OP TRUSTEE
        The Trustee shall have the following powers, duties and
   discretions in addition to those otherwise granted herein or
   by law, a nd except as elsewhere heroin ~pecitical ly
   restricted.
        A.   Retention
            The Trustee shall have the power to retain, without
   liability tor loss or depreciation resulting from such
   retention, the original assets and all other property
   hereafter transferred, devised or bequeathed to the Trustee,
   although such property may not be of the character prescribed
   by law or by th• terms of this instru11ent for the investment
   ot othor Truet aaeets, and, although i~ representa a large
   percentage or all of the Trust Estate, this said original
   property may accordingly be held as a permanent investment.
             The TrUstee shall have the power, with respect to
   any buainoss interest that may ~ecome a part or the Trust
   Estate, whether organized as a sole proprietorship,
   partnership, or corporation, and upon such terms tor such
   time and in such manner as it may deem advisable, to hold,
   retain and continue to operat• •uch bueinesa solely at the
   risk or the Trust -Estate and without liabil ity on tho part of
   the Tructoo for any- losaes reaultin9 therefrom; to dissolve,
   liquidate , or sell at such time and upon such tarl\Q as the
   Trustee may deem advisable; to incorporate s uch business and
   hold the stock as an asset of the Trust Estate: to use the
   general assets of the Trust for the purpose ot the business;
   to borrow money tor business purposes and pledge or encumber


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                      the assets of th• business or the other assets of the Trust
                      Estate to secure the loan; to employ such officers, managers,
                      employees or agents as it ~ay deea advisable in the
                      management ot such business, including electing directors,
                      officers, or employees or the Trustee to take part in the
                      111anagement o! such business as airectors or o!ticers.
                            B.   General Property Powers
                               The Trustee shall have all such powers and is
                      authorized to do all such acts, take all such proceedings and
                      exercise all such rights and pr~vileges in the management of
                      the Trust Estate as it the absolute owner thereof, including,
                      without limiting the generality of the terms, the right to
                      manage, control, sell, convey, exchange, partition, assign,
                      divide, aubdivide, improve, or repair1 to 9rant options and
                      to sell upon deterred payments; to lease for terms within or
                      extending beyond the duration of the Trust concerned for any
                      purpose, including the exploration for and renoval ot oil,
                      gas and other minerals; to enter into coJ11111unity oil leases,
                      pooling and unitization agreements; to create restrictions,
                      easements and other servitudes1 to co~promise, arbitrate or
                      otherwise adjust clai~s in tavor of or against the Trust; to
                      institute, compromise and defend actions and proceedings at
                      the expense ot the Trust Estate; and to carry such insurance
                      as tha Trust•• may deem advisable.

                            c. Powers Regarding Securities
                               The Trustee shall have, respecting securities, all
                      the rights, powers and privileges ot an owner, including the
                      right to vote stock, give proxies, pay assessments and other
                      sums deemed by the Trustee to be neceasary for the protection
                      of the Trust Estate; to participate in voting trusts, pooling
                      agreements, foreclosures, reorganizations, consolidations,
                      mergara and liquidations, and in connection therewith, to
                      deposit eeourities with and transfer title to any protective
                      or othGr conmittGG under auoh torma aa th• Tru•t•• •ay dooffi
                      ~dvisable; to exercise or sell stock subscription or
                      conversion rights; to open an account with a brokerage firm
                      of tha choosing of the Trustee in the Trustee's nane, in it•
                      own behalf for the purpose of purchasing and selling ot all
                      kinds ot securities and authorizing such brokerage tirai to
                      act upon any orders, including margin orders, options, both
                      covered and uncovered, instructions with respect to such
                      accounts and/or the delivery of securities or money therefrom
                      and received from said Trustee; and to retain as an
                      investment any securities or other property recoivod through
                      the oxerciao ot any gt the rore9oing powers, The Trustee ls
                      turther authorized to sign, deliver and/or receive any


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    doCU11ents necessary to carry out the powers contained within
    this paragraph.
        o.    Exercise Stock Options
              The Trustee is expressly authorized in the Trustee ' s
   sole discretion to exercise any option to purchase stock
   under any stock option purchase plan in which · any Decedent
   Beneficiary is a participant or may bold such option rights
   to t:.he extent that any such option rights may be exercised by
   the TrUa~•• even ~ough ~he •to~k involved is atock ol a
  corporation which may be serving as corporate Trustee f
  hereunder, regardless of the amounti of such stock or the
  percentage of the Trust Estate which may be invested in such
  stock beto~e or attar any purchase under such option.
        £.   Investlllent Powers
             1.   General
                  Th• Tru•~•• has ~he power to invest and reinvest
  principal and income, to purchase or acquire therewith every
  kind of property, real, personal or mixed, and every kind of
  investment, specifically including, but not by way of
  limitation, shares in one or more mutual funds, in any Common
  Trust FUnds administered by the Trustee, corporate
  obligations ot every kind, and stock, preterred or common,
  which persons ot prudence and discretion and intelligence
  acquire tor their own accounts.
                  The Trustee is further authorized to buy, sell
  and trade in securitioc ot a ny natura (including ahol"t: aalea)
  on margin, and for such purposes may maintain and operate
  margin accounts with brokers, and may pledge any securities
  hel d or purchased by him with such brokers as security tor
  loans and advances made to the Trustee.
             2.   Lite Insurance and Annuities
                  The Tl:'Ustee is authorized in the Trustee ' s
  discretion to maintain and/or purchase policies of life
  insurance and/or annuities on the life or for the benefit of
 · any Trust uenet1c1ar1es and to hold and pay tor the saiae as
· an investment and ~sset of the Trustee, at any ti~e and upon
  successive occasions, tha premiums to be charged against
  income or principal, as the Trustee shall determine,
              The Trustee shall have the following powers,
 duties and discretions with respect to policies of life
 insurance held as a part of the Trust Estate:


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               . a. The Trustee may pay premiuas, asses•~•nts or
   other charge.a with respect to such polioies together with all
   other charges upon such policies or otherwise required to
   preserve them as binding contracts, but shall be under no
   duty to do so.
               b. In the event that the Trustee intends not to
  pay any premium, assessment or other charge with respect to
  any policy held by it, or otherwise intends to cancel,
  convert or substantially modify any such policy, it shall
  first give the insured, or the guardian of the person QJ! an
  insured under disability, at least fifteen (15) days' advance
  written notice of its intention to take such action.
               c. Any amounts received by the Trustee with
  respect to any policy as a dividend shall be treated as
  principal.
               d. Upon the . receipt of proof of death of any
  person whose life is insured tor the benefit of any Trust
  hereunder, or upon maturity ot any policy payable to a
  Trustee prior to the death of the insured, the Trustee shall
  collect all SUJIS payable with respect thereto and shall
  thereafter hold such SUIIIS as principal of the respective
  Trust Estate, ~~copt th~t any interest paid by the ineurer
  for a period subseqUent to aaturity shall be considered as
  incoD1e,
               e. The TrUstee may accept any paYJDents due it
  under any settlement arrangement aade before or after the
  death ot the insured and may exercise any rights available to
  it under such arrangement .
               f . The Trustee may compromise, arbitrate or
  otherwise adju&t claims upon any policies, and may, but shall
  not be required to exercise any settlement option• available
  under such policies. Tho receipt of the Trustee to the
  insurer shall be a full discharge and the insurer is not
  required to see to the application of the proceeds.
       F.   Determination of Income and Principal
           The Trustee shall have the power and the authority
  to determine income and principal, and how receipts and
  disbur•ements, including the  f•••  of the Trustee, ahall be
  credited, cnarqad or apportioned oo between ineo•e and
  principal, however, all such detel'111ination shall be maae in
  accordance with tha law of the state of the situs of the
  Trust and the decision and the accounts of tha Trustee in


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accordance witll said provisions shall be binding on all
persons in int~r,es~.
          Notwithstanding the foregoing, the Trustee shall :
 (l) allocate to principal all dividends or other payments
made by any corporation or mutual investment company that are
designated by the company as a distribution of capital gain~;
(2) where a premium has been paid or a discount ~eceived in
connection with the purchase or a bond, amortize ouch pramiu~
or discount by making an appropriate charge or credit to
income as the case may be; and (3) charge income from time to
time with a reasonable reserve for (a) depreciation of al).
incoae-producing depreciable real ·or personal property, and
capital improvements and extraordinary repairs on inco~e-
producing property; (b) depletion of all depletable natural
resources, and (c) all intangible property having a li~ited
economic life. such allocations and charges need not be
made, however, it written consents are obtained from all
income Beneficiaries and remainder111en, vested or contingent,
living and competent to act .
     G.   Authority to Borrow and Encumber
         Trustee shall have the power to borrow money for any
Trust purpose upon such terms and conditions as the Trustee
may deem proper, and to obligate the Trust Estate for
repayment and to encumber the Trust Estate or any of its
property by mortgage, deed of trust , pledge or otherwise,
using such procedure to consumate the transaction as the
Tru•t•• •ay deea adviaablo .
          In addition to the power to encumber property tor a
loan bring made to the Trust, the Trustee is specifically
authorized and e~powered to obligate, hypothecate and
encumber the estate by mortgage, deed of trust, pledge or
otherwise, or whatever form the Trustee deems appropriate, or
to act as a third party guarantor to guarantee private.
borrowings ot the Trustors or either of them during their
joint lifetime. Upon the death of the decedent, such
guarantee may only be made from the survivor's Trust .
    H.    Loans
          1,   To Trust
             The Trustee shall have the power t o, in the
Trustee'a discretion, advance funds to any Trust herein
created !or any Trust purpose, such advances with interest at
current rates to be a first lien on and be repaid out of
principal and as an expense of the Trust; and to reimburse


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  the Trustee from P,rincipal or accuaulated income for any loss
  p_;: exp_i~n.s .e··'l~~~r;red ·bY' reason ot the Trustee's ownership or
  ~~1~ing '6f· ·anf ·property in this Trust.
    ~·-
  ;.· .. ·.•....· ·.'- ..
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               ·2.   To Benefici~ries
                  The Trustee may, at any time and upon successive
  occasions, loan such sUDs to the Beneficiaries· or any of them
  as the 'l'rus·tee shall deem advisable and in the best interest
  of the Beneficiaries, such loan or loans, if made, to bear
  interest at the prevailing rate and to be unsecured or
  ••cured, aa th• Trustee may, in the Trustee's discretiori,
  direct. Provided, however, that •·the TruBtee sholl have w.i.de
  discretion in the making or denial of any such loan, and the
  Trustee's judgment in the aatter shall be conclusive and
  binding on any Beneficiary requesting any such loan.
          I,   Distributions to or tor Minor or Incompetent
           It at any time any Beneficiary entitled to receive
  income and/or principal hereunder shall be a minor or an
  incompetent or a person whoa the Trustee deems to b• unable,
  wisely or properly, to handle !undo it pQid to hi~ or her
  directly, the TrUstee may make any such payments, in tbe
  Truatee's discretion, in any one or more, or any combination,
  of the following ways:
               1.    Directly to such Beneficiary, or
           2. To the natural guardian or the legally appointed
  guardian, conservator or other fiduciary of the person or
  estate of such Beneficiary, or
               J.    To any poruon or organization !urnishing support
  for such Beneficiary, or
               4.    By the Trustee retaining the principal and
  uakinq expenditures directly tor the support of aueh
  Beneficiary.
             The Trust6e shall not be required to sae to the
 application of any funds so paid or applied, and the receipt
 of such pa~ee if disbursed for such purpose in the best
 jud!Jlllent o~ the Truatea shall be !Ull acquittance to the
 Trustee. The decisi~n ot th• Trustee a• to direct paY111•nts
 or application of tunds in the manner herein prescribed shall
 be conclusive ond binding upon all parties in interest if
 made in good faith. The Trustee is requested to make all
 such disbursements in a way calculated to dispense with the
 necessity of quardianship proceedings.


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           The Truatae may, in its aole and absolute
  discretion, require such reports and take such steps as it
  may deem requisite to assure and enforce the due application
  of such money to the purposes aforesaid.
       J.   Disbursement for FUneral and Last Illness
           The Tru•t•• ~ay pay for the last illness, funeral
  and burial expenses of either Trustor or of any other
  Beneficiary of this Trust unless adequate provision shl1,ll
  have been aade therefor through his or her Probate Estate or
  otherwise.
       K.   Notification of Trustee
           Until the Trustee shall receive written notice of
  any birth, marriage, death, or other event upon which the
  right to paY1Dent from this Trust may depend, the Trustee
  shall incur no liability tor disbursements or distributions
  made or omitted in good faith.
       L.   Division of Trusts
            In making the distributions to any Trust or share
  created under this Agreement, tho judglllent of the Trustee
  concerning the valuation of a•s•t• distributed ehall h•
  binding and conclusive upon all Beneficiaries. The Trustee
  may distribute the shares to the various Trusts or to
  Beneficiaries by making distribution in cash, or in kind, or
  partly in cash and partly in kind, or in undivided
  interests, i~ such manner as the Trustea, in its sole and
  absolute discretion, deems advisable. The Trustee may sell
  such profertr as it deems necessary to make any such division
  or distribution. The Trustee shall not be required to make
  physical division of the Trust property, except when
  necessary for the purposes of diatribution, but may, in the
  Trustee's discretion, maintain and keep the assets o! any
  separate trusts in one or more consolidated trust funds, and
  as to each consolidated trust tund, the division into various
  shares comprising such trust fund need to be made only upon
  the Trustee's books oC account, in which each separate trust
  shall be allotted its proportional share of the principal and
  inco~e of the consolidated fund and shall be charge~ with its
  proportionate part ot expenses th•reot .
       M.   Provision for Taxes
           Upon the death of either Trustor or of any other
  Beneficiary, any estate, inheritance, succession or other


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    death taxes, .duties, charges or assessments, together with
    interest, penalties costs, Trustee's compensation and
    attorney's tees which shall become dua by reason of the Trust
    Esuste or any interest therein being includable in the Estate
   ot either Truster, or of such other Beneficiary, for such tax
    purposes, may l>e paid from the TrUst Estate by the Trustee,
   in its discretion, unless other adequate provision shall have
   been made therefore. Any such payments shall· be charged to
   the principal of the Tru•t Estate. The 'l'rUstee aay make such
   P•Yllt•nt• directly, or to the EMecutor or other fiduciary of
   the Trustors or such other Beneficiary, and may rely UP.On the
   written • tatement of such fiduciary as to the amount a~d
   propriety ot such taxes, interest; penalties and other costs.
   The decision ot the Trustee as to any such paYJllents shall be
   conclusive·and binding upon all parties interested in this
   Trust or such Estate. lf the Trust Estate shall be then
   insufficient or if it be then terminated the Trustee shall be
   reillbursed by the persons to whon the Trust Estate shall have
   been distributed, to the extent of tha amount received by
   each distributee. The Trustee, before making any
   distribution or either income or principal, may accordingly
   require a refunding agreement or may withhold distribution
   pending detet'lllination or release of any tax lien .
           The Trustee is authorized to acquire by purchase,
  exchange or otherwise, property, real, personal or mixed. ,
  frqm the Executor or Administrator of the Estate of any
  Beneficiary of this Trust, even though such property may not
  be of a character prescribed by law or by the terms of the
  Trust instrument tor the investment of Trust tunda, and
  although the acquisition of such property may rosult in a
  large percentage or all of the Trust Estate being invested in
  one class of property. The Trustee is expressly authorizad
  to retain the property so acquired so long as it shall deea
  this advisable and to make secured or unsecured loans to the
  Executor or Administrator of such Estate upon such ter111s as
  the Trustee shall deem advisable, such procedures being
  authorized to the extant that they do not adversely affect or
  diminish the marital deduction available to the Estate.       Such
  purchases or loans shall ba without liability to tha '19rustee
  for loss resulting to th• Trust E•tate therefrom. In any
  dealinc:,~ with tha fiduci~rv of tha K~t~to . tha Tructoo •~v
  r•ly upon the statement of such fiduciary as to all material
  tacts.
           Any portion of the Trust Es tate which was received
  from any qualified plan as described in section 2039 ot the
  Internal Revenue Code of 1954, as amended, or any subsequent
  like or sillilar law, may not be used tor any purpose
  described in this Article, which would result in inclusion of


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        aaid funds in the taxable Federal Estate of the Truster so
        long as other sources of funds are available.
                 If the Trustee considers that any distribution from
        a Trust hereunder other than pureuant to a pdwer.to withdraw
        or appoint is a taxable diatribution subject to a generation-
        skipping tax payable by the distribute•, the Trustee shall
        augment the distribution by an amount which- the Trustee
        estimates to be auffiqient to pay the tax and shall charge
        the same against the Trust to which the tax relates. If the
        Trustee conaiders that any termination of an interest in or
        power over Trust property hereunder is a taxable termination
        subject to a generation-skipping tax, the Trustee shall pay
        the tax from tho ~t'Uat prope~y to vhioh tho taK ralataa,
        without adjustment of the relative interests of the
        Beneficiaries. If the tax is i•posed in part by reason of
        Trust property hereunder and in part by reason of other
        property, the Trustee shall pay that portion thereof which
        the value of the Trust property bears to the total property
        taxed, taking into consideration deductions, exemptions, and
        other factors which the Trustee deeas pertinent.
              N.   Payment of Trust Expensee
                   The Trustee shall hav• i:ha au~ho~i~y ~o pay all
        costs, charges and expenses of the Trust Bstate, together
        with reasonable co~pensation for the Trustee's services
        hereunder, including servic•• in whole or partial
        distribution ot the Trust Estate; and to employ and
        compensate from the Trust Estate such agents, assistants and
        attorneys as in the Trustee's judgment shall be necessary to
        protect and manage the Trust property.
              o.   Estate Settlement ·
                 Tne Trustee ls hereby relf'leeted to direct any legal
        questions or requirements concerning settlement of this Trust
        Estate to Stewart Levin, tbe TrUstor's legal oouneel.
              P.   Right of Trustee to Probate TrUst Assets
                Notwithstanding any other provision• of this Trust
       Agreement, the Trustee may, in its sole discretion, direct
       the Executor of the Will of either or both of the Trustors,
       to aubject up to and including all Truat assets to the
       jurisdiction o~ t:ha Probate Court ae if no living trancforc
       had been made to the Tru~t.




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     · Q,    Ppv.er ot Cotrustees To Act Independently
           No~ithatanding any other provision to the contrary,
  the Truster~ specifically authorize only either of the
  original cotrustees during their joint lives and while
  serving as Cotrustees, to act independently of the other and
  have the authority to perform all powers and acts as granted
  under this Declaration of Trust, except as affects an
  interest in real property, by example, but not limited
  thereto, to sell, transfer, assign, mortgage, hypothecata or
  otherwise encrumber the real property of the Trust Estat1,
  which will necessitate the concurrence of both Original
  Cotrustees as long as both are al-ive.
             Noewithstanding any other provision to the contrary,
  the TrUstors specifically do not authorize any Successor
  Cotrustaes during their joint lives and while serving as
  cotrustees, to act independently of the other with respect to
  parfot"Jlanca of any and all powore and acts as granted under
  tnia Deciaration or Trust . ·
       R.   CoWDence or De!end Litigation
          The Trustee may commence or defend such litigation
 with respect to the Trust or any property of the Trust E~tate
 as the Trustee may deem advisable at the expense o! the
 Trust.
       s.   Compromise Claims
          The Trustee may compromise or otherwise adjust any
 claims or litigation against or in favor of the Trust.
       T.   Adjustment !or Tax Consequences
          The Trustee shall have the power, in the Trustee's              ·I
 absolute discretion, to take any action and to make any
 election to minimize the tax liabilities or this Trust and
 its Beneticiari•• and to allocate the benefits among the
 various Benefieiaries and to make ad~ustmants in the riqhts
 o~ any Bana~ioiarie• or betveen the income and principal
 accounts, to compensate tor the consequence o! any tax
 election or any investment or adlftini•trative decision that
 ~e Trustee believe~ has had the effect of directly or
 indirectly preferring. one Beneficiary or group of
 Beneficiaries over others.




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         u.   Budget Income and Expenses
              T~e Trustee shall have the power to budget the
   esti)llated annual income and expenses or the Trust or Trust
   share in such aanner as to equalize as far as possible
   periodic income payments to Benetiaiaries .
         v.   Interest
              The Trustee shall not pay interest on any 1
   distributions required to be made in the Trust Agreement.
   XI.   REPLACEMEN'l! OF TRUSTEE
        During the time that either o! the original Trustees are
  acting as a Trustee, his or her capacity to continua to so
  function as a Trustee 111ay be ter111inated by the written
  concurrence of the medical physician who ia overseeing the
  general health of that Trustee and the rel'll4ining Original
  Cotrustee or the successor Trustee who would next be
  nominated and appointed to serve as Trustee hereunder. In
  the event that these two designated parties are in agreement,
  that one ot the Original Trustees or both of th. . should be
  removed as a Trustee, they should deliver their
  recommendation to the successor Trustee who would next be
  nominated and appointed to serve as Trustee hereunder, who
  shall have the authority to then aaawaa full responsibility
  as Trustee ot this Trust. In the event that said successor
  Trustee is unavailable then Alternate Trustee named
  hereinabove shall provide all !unction• of said successor
  Trustee hereunder and shall serve as Trustee.
  XlI. GENERAL PROVISIONS
       The administration of any Trust provided tor herein
  shall be subject to the !allowing general provisions.
         A.   supplementary Definitions
              l.   Children and Issue
               The words "children" and "issue" as used herein
  shall include natural children and issue of children, and not
  legally adopted children and the lawful i••ue of legally
  adopted children. The word "living" ahall include unborn
  persona in the persons in the period of gestation.




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              2. 1 support
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                    The term "support" as used herein ' shall include
   proper support, maintenance, medical care, and education,
   including private grade, secondary or high schools, private
   or public institutions of higher learning at both
   undergraduate and graduate levels, . professional education,
   vocational and trade schools, depending upon the abilities
   an~ IIJl\bitions ot tho respective Bene~iciary .
        B.   Annual Accounting
            The Trustee shall rendet"an annual accounting to the
   Beneficiary or Beneficiaries of the Trust not more than one
   hundred twenty (120) days following the close of the fiscal
   year of the Trust.
        C.   Spendthrift Clause
           Tho interacts of tho Bonoficiarios in the principal
  and/or income of the Trust shall not be subject to the claim
  or claims of their creditors or others, nor to legal process,
  and may not be voluntarily or involuntarily alienated or
  encumbered.
        o. Partial Invalidity
            It any provision ot thia instrument is void, invalid
  or unenforceable, the remaining provisions shall nevertheless
  be valid and carried into affect. If any Trust herein
  establishe d exceeds the longest per111iaaible period, it shall
  persist in its period tor the longest period permissible,
  then terlllinate.
       E.    Headings

           The headings in this instrument are for convenience
  only and are not part ot the text.
       F.    Situs of Trust
             The situs ot the Trust Estate shall be the state of
   California. The situs of the Trust Estate may be transferred
 . from California to ·such other jurisdiction as the majority of
   the income Beneficiaries may designate, however, only upon
   written notice given to the Trustee.




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            . _G.    ~iDultaneous Death
         ,         ·I t there be no sufficient evidence that the Trustors
         died .otherwise than simultaneously, then for the purposes of
         this Agreement and the tax effect of this Agreement, it shall
         be presumed that the Decedent shall be the Husband and the
         Survivor ahall l:>e the Wite.
              H.     counterparts
                 The Agreement may be executed in any nu~er,ot
        counterparts and each shall constitute an original ot one and
        the same instrwaent.
              I.    ~pplication to Probate Court
                 Xf any diaputea ariao as to interpretation ot this
        Agreement, or there is need to obtain Court approval of any
        accounting or any interpretation in regard to this Agreement,
        the Trustors direct the. Trustee to make application to the
        Probate Court, it being the intent of the Trustors that the
        Probate Court shall not assuma continuing jurisdiction,
        except as may be required by law.
             J.     Number and Gender
                   As used in this Trust Agreement, the masculine,
        feminine and neuter gender, and the plural and sinaular
        nulllber shall each be deemed to include the others when the
        context so indicates.
             K.     Trust Shares or Subshares
                 For purposes ot simplicity, the Trustors have used
        in this Trust Agre•ment the terms "shares" and "subshares. 11
        The Trustors intend, however, that each share or subshare
        shall be a separate Trust.
             L.     No Contest Provi~ion
                 It any beneficiary in any manner, directly or
        indirectly, contests this instrument or any ot its
       provisions, any share or intereat in tha trust given to that
       contesting beneficiary under this instrument ia revoked and
       ~hall be diposed of aa if that contesting beneficiary had
       predeceased tha Truators.
                This is to witness -that We, the undersigned
       Trustors, recpiaotivoly, have road ~ho p~oviaiona 0£ i:hi•
       Trust Agreement and understand the provisions therein, and it



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     is .our- ~n~ent to enter into this Trust Agreement in
    ·:~b~\;~~an~ with Col!llllunity Property law, allowing a Husband
    ~nd Wife to enter into a contract with each other regarding
    ooiolunity property.

             IN WITNESS WHEREOF, the provisions.of this
    Declaration Of 'lrwst shall bind OSCAR WENDRIGER and TANIA
    WENDRIGBR as Trustors, and OSCAR WENDRIGER and TANIA
    WENDRIGBR as cotrustees; successor Trustees assuming the role
    of Trustee hereunder, and the Beneficiaries of this TrUst, as
    well aa their successors and assigns.
            ~ t e d at /..~;       ~.A ·· , California,
    this   '+   day ot   IAA try      , 1990.
    TRUSTORS:


    OSCAR WENDRIGER


     r;,;. tk,~~
    TANIA WENDRIG
                                         COTRUSTEES:


                                         OSCAR WENDRIGER

                                          ku,,;_ /J,,,,.Lr
                                        TANIA WENDRIG




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  . STATE OF CA~IPORNIA  )
                         )
   COUNTY OF U>S ANGELES )          /U
        On        -r-'11J·'I;, Y-        , 1990, before me, the
   undersigned, a Not ry Public In and for aaid County and
   State, personally appeared OSCAR WENDRIGER and TANIA
   WENDRIGER, personally known to me or proved to 11e on the
   basis ot satisfactory evidence to be the person(s) whose
   na111e(s) is/are subacri))ed to the within instrument and .
   acknowledged that he/she/they executed the same.~
                                                          :7
  Y2
     ~~<
        WITNESS   my hand and ofticial .~eal, this

                  ,1990.                 ~
                                          ~1~-q
                                                      J~~      day of



                                          said County and State




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 10
       Attorneys for Judgment Creditors and Plaintiffs
 11    Erica and Joseph Vago
 12                                UNITED STATES BANKRUPTCY COURT
 13                                CENTRAL DISTRICT OF CALIFORNIA
 14                                      LOS ANGELES DIVISION

 15
       In re                                                 Case No. 2:23-bk-10990-SK
 16
       LESLIE KLEIN,                                         Chapter 11
 17
                     Debtor.                                 Adv. Case No.
 18
 19                                                          COMPLAINT TO DETERMINE THE
       ERICA VAGO and JOSEPH VAGO,                           NONDISCHARGEABILITY OF CERTAIN
 20
                                                             DEBTS OWED BY DEBTOR LESLIE
                     Plaintiffs,
 21                                                          KLEIN TO ERICA AND JOSEPH VAGO
               vs.                                           PURSUANT TO 11 U.S.C. § 523 AND TO
 22                                                          DENY DISCHARGE PURSUANT TO
       LESLIE KLEIN and DOES 1 through 10,                   SECTION 727(A)(12)
 23
                     Defendants.
 24
 25
 26

 27
 28

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   1          Plaintiffs Erica (“Erica”) and Joseph Vago (“Joseph”) (collectively, the “Vagos”), allege as
   2   follows on personal knowledge:
   3                                           Nature of the Case
   4          1.      Defendant and Debtor Leslie Klein (“Defendant” or “Debtor”) stole more than $8
   5   million from Erica in a complicated life insurance scam.
   6          2.      Defendant was the Vagos’ friend for more than 40 years. Defendant preyed on the
   7   Vagos during a time of vulnerability and desperation. Defendant convinced the Vagos to entrust
   8   him with Erica’s $15 million inheritance. Defendant claimed he would act as the Vagos’ lawyer,
   9   accountant and investment adviser.
 10           3.      In truth, Defendant is a con man who systematically embezzled the Vagos’ money
 11    and lied to them every step of the way. Defendant created false financial statements. Defendant
 12    misrepresented the nature of the Vagos’ “investments.” Defendant talked in circles and provided
 13    documents that were designed to confuse. Defendant sold insurance policies without telling the
 14    Vagos. Defendant fabricated meetings that never happened. Defendant made himself the trustee
 15    over life insurance trusts that purportedly held the Vagos’ money.
 16           4.      In the end, Erica’s money simply vanished. Defendant forced the Vagos to take
 17    their case to trial. Defendant attempted to derail the litigation at every possible moment.
 18    Defendant refused to participate in discovery. The trial court sanctioned Defendant on multiple
 19    occasions. At trial, Defendant—who was a CPA for decades—could not account for what
 20    happened to $8 million in Erica’s inheritance. On cross-examination, Defendant admitted that he
 21    had no intention of ever giving Erica a return on her money. This was a scam from start to finish.
 22           5.      The jury ultimately returned a verdict holding Defendant liable for intentional
 23    fraud, fraudulent concealment, breach of fiduciary duty and elder abuse. The jury awarded more
 24    than $8 million in punitive damages. And the trial court entered judgment in the amount of $24.3
 25    million.
 26           6.      This debt is not dischargeable in bankruptcy. The Vagos’ judgment emanates from
 27    a widespread, deliberate and calculated fraud on the part of Defendant.
 28

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   1                                         Jurisdiction and Venue
   2           7.     On February 22, 2023 (the “Petition Date”), Defendant filed a voluntary Chapter 11
   3   bankruptcy petition in the United States Bankruptcy Court, Central District of California, Los
   4   Angeles Division.
   5           8.     This action is a civil proceeding arising in the above-captioned chapter 11
   6   bankruptcy case, which is now pending in this judicial district, and arising under, and arising in
   7   and related to title 11 of the United States Code.
   8           9.     This Court has jurisdiction pursuant to 28 U.S.C. § 1334(b) and 28 U.S.C. §
   9   157(b)(2)(J) to hear and determine this proceeding and to enter an appropriate final order and
 10    judgment.
 11            10.    This matter is a core proceeding pursuant to 28 U.S.C. § 157.
 12            11.    Venue is proper in this judicial district pursuant to 28 U.S.C. § 1409.
 13                                                 The Parties
 14            12.    The Vagos are judgment creditors in the above-captioned Chapter 11 bankruptcy
 15    case.
 16            13.    Defendant is the debtor in the above-captioned Chapter 11 bankruptcy case.
 17                                            General Allegations
 18            A.     The Friendship
 19            14.    Joseph first met Defendant in 1970. They are both Orthodox Jews and they were
 20    members of the same temple.
 21            15.    Over the years, the Vagos and Defendant interacted at family and religious events,
 22    including birthdays, holidays, shabbat dinners, bar mitzvahs, and weddings. Defendant and the
 23    Vagos were friends.
 24            B.     Legal Services
 25            16.    In June 2012, Erica’s uncle died. In October 2012, Erica’s brother died. A few
 26    months later, in July 2013, Erica’s mother died. Erica and Joseph had to deal with three lost loved
 27    ones in short succession.
 28

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   1          17.     Erica’s brother, Robert Schweitzer (“Schweitzer”), died on October 3, 2012.
   2   Schweitzer willed the bulk of his estate to Erica. Schweitzer’s estate included roughly $18 million
   3   in a foreign bank account.
   4          18.     A few days following Schweitzer’s death, the Vagos were at their home mourning
   5   the loss of Schweitzer. Defendant went to the Vagos to pay his respects. At that time, Defendant
   6   also offered his services as a lawyer and accountant. Defendant said he could handle any issues
   7   that might come up with Schweitzer’s estate. The Vagos ultimately agreed to retain their longtime
   8   friend. The Vagos and Defendant arranged to meet the following week.
   9          C.      The Life Insurance Policies
 10           19.     About a week later, the Vagos and Defendant met to discuss Schweitzer’s estate.
 11    Erica learned before the meeting that Schweitzer had left her more than $18 million, located in a
 12    foreign bank account. The Vagos did not know how to handle the will, probate, inheritance,
 13    foreign bank accounts, and estate taxes. At the meeting, Erica told Defendant about the
 14    inheritance.
 15           20.     Defendant said this issue was his “specialty.” Defendant told Erica that he was a
 16    jack-of-all-trades—he was a lawyer, CPA, and financial adviser. Defendant told Erica he could
 17    deal with the will. Defendant told Erica he could prepare the estate tax returns. Defendant told
 18    Erica he could figure out the best way to repatriate the money from the foreign bank account.
 19    Defendant told Erica he could even set up investments for the money once the Vagos received it.
 20           21.     The Vagos agreed to let Defendant guide them through this unfamiliar territory.
 21    Erica wrote Defendant a $7,000 check that day for the legal services he promised to provide
 22    through his law firm Leslie Klein & Associates (“LK&A”).
 23           22.     Defendant also recommended that the Vagos invest the inheritance in life insurance
 24    policies. Defendant explained the safety and benefits of this strategy. Defendant said that each
 25    investment would garner 10 to 12% interest each year, plus a premium on the principal in some
 26    cases, all to be paid when the Vagos cashed out. And Defendant emphasized how simple cashing
 27    out would be. Defendant advised that investments in these policies were “just like cash.”
 28    Defendant promised the Vagos they could “sell them for cash any time [they] wanted.”

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   1          23.     Defendant added that the best way to effect the transaction would be to wire the
   2   money to the LK&A client trust account. Defendant would then invest the money from the
   3   LK&A client trust account into life insurance policies. When the Vagos mentioned they wanted to
   4   donate substantial sums to charity, Defendant suggested they wire the money to the EKLK
   5   Foundation, which Defendant set up and controlled. Defendant said the EKLK Foundation would
   6   then distribute funds to charities the Vagos chose.
   7          24.     Finally, Defendant said that if the Vagos wanted cash from Erica’s inheritance for
   8   themselves, they should ask him for it. He would write them a check from the LK&A client trust
   9   account.
 10           25.     Defendant reassured the Vagos that the strategy was sound. Defendant said he
 11    performed the same transactions for “all my clients” as well as his family. Defendant told the
 12    Vagos that he invested his own money in the life insurance policies. Defendant added that
 13    prominent tax attorneys and accountants “in Century City” confirmed to him that this was a safe
 14    and proper strategy. Defendant claimed to have invested in life insurance policies for several
 15    prominent members of the Jewish community.
 16           D.      The Scam
 17           26.     Over the next four years, Erica arranged more than $15 million in wire transfers
 18    from the foreign bank account holding her inheritance. Erica made each transfer at Defendant’s
 19    direction and to accounts Defendant controlled.
 20           27.     About $12.4 million went to the LK&A client trust account, and the rest went to
 21    Defendant’s EKLK Foundation.
 22           28.     As the money came in, Defendant represented to the Vagos that he was executing
 23    the investment strategy he had convinced them to follow. Defendant told the Vagos he was
 24    investing much of Erica’s inheritance in life insurance policies.
 25           29.     The life insurance “investments” were not really investments; they were non-
 26    recourse loans to irrevocable life insurance trusts. Each life insurance trust purportedly contained
 27    a life insurance policy or policies—on the life of a complete stranger to the Vagos—which served
 28    as the sole security for the Vagos’ loan. The principal and interest on each loan were not due until

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   1   the death of the policyholder. For Erica and Joseph—who were respectively 59 and 61 when
   2   Schweitzer passed—this term rendered the loans almost valueless. They did not know when—if
   3   ever—the loans would become due.
   4           30.     The Vagos did not know the identities of the other “investors” in each life
   5   insurance trust. The Vagos did not know how much money Defendant received from other
   6   “investors.” The Vagos had no way to independently verify whether Defendant was paying the
   7   premiums on the insurance policies. The Vagos had no way to determine whether the insureds
   8   were alive or not. The Vagos could not find out whether any insurance companies had paid
   9   Defendant money in connection with the policies they “invested” in. The Vagos had no way to
 10    know whether Defendant sold the policies they thought they invested in. The Vagos were
 11    completely in the dark and at the mercy of Defendant.
 12            31.     The Vagos’ names were nowhere to be found on the promissory notes or on the life
 13    insurance policies. Rather, the promissory notes were executed for the benefit of the “Estate of
 14    Robert Schweitzer.” It could not be more evident that Defendant structured these “investments” in
 15    a manner designed to confuse and deceive the Vagos. Defendant knew that these “investments”
 16    were never going to pay out.
 17            32.     Though these promissory notes were nearly worthless to the Vagos, by Defendant’s
 18    doing, they still had a huge carrying cost. To keep the underlying life insurance policies from
 19    lapsing, Defendant told the Vagos that they would have to pay hundreds of thousands of dollars
 20    per year toward insurance premiums. This money was in addition to the millions already loaned
 21    to the life insurance policy trusts.
 22            33.     By 2019, Defendant claimed to have “invested” $8.3 million of the Vagos’ money
 23    in life insurance policies.
 24            E.      The Misrepresentations
 25            34.     Defendant routinely visited the Vagos at their house. During these visits,
 26    Defendant would give the Vagos a memo on the letterhead of LK&A that purported to show the
 27    status of their “investments.” In a July 1, 2017 memorandum, Defendant stated that the Vagos’
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   1   “investment” had increased in value to $9.4 million. And the memorandum indicated that the
   2   Vagos were entitled to $3,205,000 in interest since their initial “investment” in 2012.
   3          35.     Defendant provided a memorandum in 2018 that indicated the Vagos’
   4   “investments” were worth $10.2 million and the interest was $3,685,000. These written
   5   memoranda were all lies.
   6          F.      The Vagos Discover Defendant’s Fraud
   7          36.     On or around September 15, 2019, Defendant went to the Vagos’ home for their
   8   regular meeting. At this meeting, Erica told Defendant she needed to cash out roughly $1 million.
   9   Defendant responded that the “interest” that had accrued on the Vagos’ investment was all gone.
 10    Defendant falsely stated that “hedge funds are not paying interest anymore” on life insurance
 11    policies, so their earnings over the past seven years had vanished.
 12           37.     The Vagos demanded that Defendant refund their money. Defendant refused.
 13           G.      The State Board of Accountancy
 14           38.     At the same time Defendant was defrauding the Vagos, he was accused of stealing
 15    money from his client Hubert Scott (“Scott”). The California State Board of Accountancy (the
 16    “State Board”) brought charges against Defendant in 2019.
 17           39.     The State Board alleged that Scott inherited money when his brother and son died.
 18    Defendant purported to serve as Scott’s tax preparer, financial planner and investment adviser.
 19    Scott, at that time, was 86 years old and had dementia. Defendant had himself appointed as the
 20    trustee of Scott’s trust agreement. Over the course of five years, Scott gave Defendant $2.42
 21    million.
 22           40.     Defendant purported to “invest” Scott’s money in non-recourse promissory notes
 23    with irrevocable life insurance trusts (i.e., the exact same investments that are at issue here).
 24    Defendant invested 85% of Scott’s money in these life insurance trusts. Even though Scott was 86
 25    years old, he would only be paid out when the insured passed away. Defendant also invested
 26    Scott’s money in companies with which Defendant was affiliated. Among others, Defendant
 27    purportedly invested $750,000 of Scott’s money in LEDs sold by Time Square Media, Inc. (“Time
 28    Square Media”). Defendant was the president of Time Square Media. This $750,000 investment

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   1   purportedly made by Defendant was not reflected in any accounting. The State Board noted that
   2   none of the transactions were made in Scott’s name. Instead, Defendant admitted that he did not
   3   invest the money in life insurance policies on behalf of his clients, but that he actually borrowed
   4   the money himself from his clients.
   5          41.     The State Board alleged that Defendant failed to provide an accounting, and instead
   6   periodically provided documents showing inflated values that were inaccurate on their face.
   7   Defendant ultimately denied that he was Scott’s tax preparer or adviser.
   8          42.     A conservator was appointed in 2016, and Defendant was removed as trustee. The
   9   State Board filed the Accusation in 2019, based on allegations of fraud, breach of fiduciary duty,
 10    embezzlement, commingling funds and undue influence. Defendant entered into a stipulation with
 11    the State Board that resulted in the surrender of his accounting license.
 12           H.      The Litigation and Defendant’s Failure to Comply with Court Orders
 13           43.     The Vagos filed a state court complaint against Defendant on July 1, 2020. From
 14    day one, Defendant and LK&A engaged in a scheme to evade discovery and to derail the case.
 15           44.     Defendant served boilerplate objections to all written discovery requests and
 16    refused to provide substantive responses. Defendant refused to produce documents. The Vagos
 17    then filed several rounds of discovery motions. The Court granted all of them and entered
 18    monetary and issue sanctions against Defendant. The Court ordered Defendant to produce a
 19    responsivity chart and a privilege log. Defendant did not. The Court ordered Defendant to
 20    produce bank records. Defendant did not. Defendant filed a motion to quash a third-party
 21    subpoena served on Bank of America, which he lost. Defendant failed to pay the court-ordered
 22    monetary sanctions by the deadline and failed to comply with court orders requiring supplemental
 23    responses. Defendant even walked out of a court ordered deposition. Defendant stalled and
 24    refused to make himself available for deposition. Defendant substituted new counsel on the eve of
 25    trial. Defendant filed numerous motions to continue the trial date, all of which were denied
 26           I.      The Trial, Jury Verdict and Judgment
 27           45.     On August 29, 2022, the trial in the Vagos’ state court matter commenced.
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   1          46.     At trial, the Vagos presented evidence that Defendant sought out to defraud them
   2   when they were at their most vulnerable—just after Erica’s brother died and while she was caring
   3   for her dying mother in the hospital. Defendant initially testified that he had no financial interest
   4   in the policies that he purportedly invested the Vagos’ money in. But Defendant later admitted
   5   that he invested his own money in these same policies.
   6          47.     Defendant drafted and signed promissory notes where he agreed as trustee that the
   7   Vagos would be entitled to 12% interest on their money. But Defendant testified at trial that he
   8   never had any intention of actually paying the Vagos that interest. Defendant utterly failed to
   9   explain what these “investments” actually were; whether the Vagos were entitled to make any
 10    money from his perspective; or what he did with the Vagos’ money.
 11           48.     Defendant testified at trial that he kept a contemporaneous “ledger” of all
 12    transactions relating to the Vagos. This was a lie—no such ledger was produced at trial.
 13    Defendant admitted that he provided false and inflated financials to the Vagos on a regular basis.
 14    Defendant took out a life insurance policy on an individual named Ann Radow. Ann Radow
 15    testified at trial that she had never met Defendant; that he took out an insurance policy on her life
 16    without her knowledge or consent; and that Defendant created the Ann Radow Trust and made
 17    himself the trustee without her knowledge or consent.
 18           49.     Unbeknownst to the Vagos, Defendant surrendered his license to practice
 19    accounting after he was accused of embezzling money from Scott, an 86-year-old client with
 20    dementia. The State Board disciplined Defendant at the same time he was defrauding the Vagos.
 21           50.     The jury ultimately found that Erica had proven her case against Defendant for
 22    intentional fraud, fraudulent concealment, financial elder abuse and breach of fiduciary duty. The
 23    jury awarded Erica $8.3 million in compensatory damages, plus $8.3 million more in punitive
 24    damages. And the jury awarded Joseph an additional $400,000 in emotional distress damages.
 25    The Court then awarded $7,334,038.99 in prejudgment interest and entered judgment in the
 26    amount of $24,334,038.99 (“Judgment”). A true and correct copy of the Judgment is attached as
 27    Exhibit 1.
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  1                                     FIRST CLAIM FOR RELIEF
  2                       (Nondischargeability of Debt - 11 U.S.C. § 523(a)(2)(A))
  3          51.     The Vagos reallege and incorporate by reference all of the prior and subsequent
  4   allegations in this Complaint as though fully set forth herein.
  5          52.     At all relevant times, Defendant acted as the Vagos’ fiduciary. Defendant was their
  6   attorney, accountant and investment adviser. Erica entrusted Defendant implicitly with her entire
  7   inheritance (more than $15 million).
  8          53.     Defendant owed the Vagos fiduciary duties at all relevant times, including the duty
  9   of loyalty and candor. Defendant further owed a duty to use Erica’s funds for legitimate business
 10   purposes and to refrain from using her funds and other property for his own personal non-business
 11   purposes.
 12          54.     Defendant embezzled and stole from the Vagos. Defendant misrepresented
 13   information to the Vagos for the purpose of convincing Erica to deposit more than $12 million
 14   into the LK&A client trust account. Defendant then stole more than $8 million of Erica’s money
 15   in a complicated life insurance scam.
 16          55.     A jury found Defendant liable for intentional fraudulent, fraudulent concealment,
 17   breach of fiduciary duty and elder abuse as set forth in the Judgment. The jury awarded Erica $8.3
 18   million in punitive damages after finding that Defendant acted with fraud, oppression and malice.
 19   The trial court ultimately entered the Judgment against Defendant in the amount of $24.3 million.
 20          56.     Defendant’s misappropriation of Erica’s funds and other property was
 21   unauthorized, without her consent and fraudulent. Defendant acted with the intent to permanently
 22   deprive Erica of the possession, use and benefit of her funds and other property.
 23          57.     As a result of Defendant’s unauthorized and fraudulent misappropriation of Erica’s
 24   funds and other property and Defendant’s false pretenses, false representations, and actual fraud
 25   set forth herein, the Vagos have suffered damages in the amount of not less than $26,386,891.00.
 26          58.     Defendant’s debt to the Vagos is nondischargeable under 11 U.S.C. § 523(a)(2)
 27   because it was incurred as a result of false pretenses, false representations, and actual fraud.
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  1          59.     The damages arising from Defendant’s willful and malicious false pretenses, false
  2   representation and actual fraud to the Vagos constitutes a debt against Defendant that is non-
  3   dischargeable pursuant to 11 U.S.C. § 523(a)(2).
  4                                   SECOND CLAIM FOR RELIEF
  5                         (Nondischargeability of Debt - 11 U.S.C. § 523(a)(4))
  6          60.     The Vagos reallege and incorporate by reference all of the prior and subsequent
  7   allegations in this Complaint as though fully set forth herein.
  8          61.     At all relevant times, Defendant acted as the Vagos’ fiduciary. Defendant was their
  9   attorney, accountant and investment adviser. Erica entrusted Defendant implicitly with her entire
 10   inheritance (more than $15 million).
 11          62.     Defendant owed the Vagos fiduciary duties at all relevant times, including the duty
 12   of loyalty and candor. Defendant further owed a duty to use Erica’s funds for legitimate business
 13   purposes and to refrain from using her funds and other property for his own personal non-business
 14   purposes.
 15          63.     Defendant embezzled and stole from the Vagos. Defendant misrepresented
 16   information to the Vagos for the purpose of convincing Erica to deposit more than $12 million
 17   into the LK&A client trust account. Defendant then stole more than $8 million of Erica’s money
 18   in a complicated life insurance scam.
 19          64.     A jury found Defendant liable for intentional fraudulent, fraudulent concealment,
 20   breach of fiduciary duty and elder abuse as set forth in the Judgment. The jury awarded Erica $8.3
 21   million in punitive damages after finding that Defendant acted with fraud, oppression and malice.
 22   The trial court ultimately entered the Judgment against Defendant in the amount of $24.3 million.
 23          65.     Defendant’s misappropriation of Erica’s funds and other property was
 24   unauthorized, without her consent and fraudulent. Defendant acted with the intent to permanently
 25   deprive Erica of the possession, use and benefit of her funds and other property.
 26          66.     As a result of Defendant’s unauthorized and fraudulent misappropriation of Erica’s
 27   funds and other property while acting in a fiduciary capacity and Defendant’s false pretenses, false
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  1   representations, and actual fraud set forth herein while acting in a fiduciary capacity, the Vagos
  2   have suffered damages in the amount of not less than $26,386,891.00.
  3          67.     The damages to the Vagos arising from Defendant’s fraud, defalcation,
  4   embezzlement and larceny while acting in a fiduciary capacity constitutes a debt against
  5   Defendant that is non-dischargeable pursuant to 11 U.S.C. § 523(a)(4).
  6                                     THIRD CLAIM FOR RELIEF
  7                         (Nondischargeability of Debt - 11 U.S.C. § 523(a)(6))
  8          68.     The Vagos reallege and incorporate by reference all of the prior and subsequent
  9   allegations in this Complaint as though fully set forth herein.
 10          69.     At all relevant times, Defendant acted as the Vagos’ fiduciary. Defendant was their
 11   attorney, accountant and investment adviser. Erica entrusted Defendant implicitly with her entire
 12   inheritance (more than $15 million).
 13          70.     Defendant owed the Vagos fiduciary duties at all relevant times, including the duty
 14   of loyalty and candor. Defendant further owed a duty to use Erica’s funds for legitimate business
 15   purposes and to refrain from using her funds and other property for his own personal non-business
 16   purposes.
 17          71.     Defendant embezzled and stole from the Vagos. Defendant misrepresented
 18   information to the Vagos for the purpose of convincing Erica to deposit more than $12 million
 19   into the LK&A client trust account. Defendant then stole more than $8 million of Erica’s money
 20   in a complicated life insurance scam.
 21          72.     A jury found Defendant liable for intentional fraudulent, fraudulent concealment,
 22   breach of fiduciary duty and elder abuse as set forth in the Judgment. The jury awarded Erica $8.3
 23   million in punitive damages after finding that Defendant acted with fraud, oppression and malice.
 24   The trial court ultimately entered the Judgment against Defendant in the amount of $24.3 million.
 25          73.     Defendant’s misappropriation of Erica’s funds and other property was
 26   unauthorized, without her consent and fraudulent. Defendant acted with the intent to permanently
 27   deprive Erica of the possession, use and benefit of her funds and other property.
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  1          74.      As a result of Defendant’s unauthorized and fraudulent misappropriation of Erica’s
  2   funds and other property while acting in a fiduciary capacity and Defendant’s false pretenses, false
  3   representations, and actual fraud set forth herein while acting in a fiduciary capacity, the Vagos
  4   have suffered damages in the amount of not less than $26,386,891.00.
  5          75.      The damages arising from Defendant’s willful and malicious injury to the Vagos
  6   constitutes a debt against Defendant that is non-dischargeable pursuant to 11 U.S.C. § 523(a)(6).
  7                                   FOURTH CLAIM FOR RELIEF
  8                           (For Denial of Discharge - 11 U.S.C. § 727(a)(12))
  9          76.      The Vagos reallege and incorporate by reference all of the prior and subsequent
 10   allegations in this Complaint as though fully set forth herein.
 11          77.      Pursuant to 11 U.S.C. § 727(a)(12), the court shall grant the debtor a discharge
 12   unless- the court after notice and a hearing held not more than 10 days before the date of the entry
 13   of the order granting the discharge finds that there is reasonable cause to believe that—(A) section
 14   522(q)(1) may be applicable to the debtor; and (B) there is pending any proceeding in which the
 15   debtor may be found guilty of a felony of the kind described in section 522(q)(1)(A) or liable for a
 16   debt of the kind described in section 522(q)(1)(B).
 17          78.      On April 11, 2023, the Vagos filed a motion [Docket No. 71] seeking disallowance
 18   of Debtor’s claim of exemption in the real property located at 322 N. June Street, Los Angeles,
 19   CA 90004 (the “Property”) in any amount exceeding $189,050.00 pursuant to Section 522(q) of
 20   the Bankruptcy Code.
 21          79.      Section 522(q) operates to reduce any state law homestead exemption claim to
 22   $189,050.00 where debtor owes a debt arising from “fraud, deceit, or manipulation in a fiduciary
 23   capacity.” 11 U.S.C. § 522(q)(1)(B)(ii).
 24          80.      As set forth herein, Debtor owes a debt to the Vagos in an amount of not less than
 25   $26,386,891.00 based upon the Judgment which arose from “fraud, deceit, or manipulation in a
 26   fiduciary capacity.” 11 U.S.C. § 522(q)(1)(B)(ii).
 27          81.      Accordingly, Debtor is not entitled to a discharge of his debts pursuant to 11 U.S.C.
 28   § 727(a)(12).

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  1                                           Prayer for Relief
  2          WHEREFORE, Plaintiffs request judgment on the Complaint as follows:
  3          1.     On the First Claim for Relief, the Vagos seek an order determining that Defendant
  4   is indebted to the Vagos in an amount not less than $26,386,891.00 and that Defendant’s debt is
  5   excepted from discharge pursuant to 11 U.S.C. § 523(a)(2);
  6          2.     On the Second Claim for Relief, the Vagos seek an order determining that
  7   Defendant is indebted to the Vagos in an amount not less than $26,386,891.00 and that
  8   Defendant’s debt is excepted from discharge pursuant to 11 U.S.C. § 523(a)(4);
  9          3.     On the Third Claim for Relief, the Vagos seek an order determining that Defendant
 10   is indebted to the Vagos in an amount not less than $26,386,891.00 and that Defendant’s debt is
 11   excepted from discharge pursuant to 11 U.S.C. § 523(a)(6);
 12          4.     On the Fourth Claim for Relief, the Vagos seek an order denying Defendant his
 13   discharge pursuant to 11 U.S.C. § 727(a)(12);
 14          5.     For costs of suit incurred herein; and
 15          6.     For such other and further relief as the Court may deem appropriate.
 16                                                    Respectfully submitted,
 17   Dated: May 10, 2023                             GOE FORSYTHE & HODGES LLP
 18
 19                                               By: /s/Robert P. Goe
                                                      Robert P. Goe
 20
                                                      Attorneys for Plaintiffs Erica Vago and
 21                                                   Joseph Vago

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  1                              PROOF OF SERVICE OF DOCUMENT
  2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My
  3   business address is: 17701 Cowan, Bldg. D., Suite 210, Irvine, CA 92614

  4   A true and correct copy of the foregoing document entitled (specify): NOTICE OF MOTION
      AND MOTION FOR ORDER DISMISSING DEBTOR’S CHAPTER 11 BANKRUPTCY
  5   CASE; MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATIONS OF
      ERICA VAGO, BRIAN PROCEL; AND REQUEST FOR JUDICIAL NOTICE IN
  6   SUPPORT OF SAME will be served or was served (a) on the judge in chambers in the form
      and manner required by LBR 5005-2(d); and (b) in the manner stated below:
  7
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
  8   Pursuant to controlling General Orders and LBR, the foregoing document will be served by the
      court via NEF and hyperlink to the document. On (date) May 10, 2023, I checked the CM/ECF
  9
      docket for this bankruptcy case or adversary proceeding and determined that the following persons
 10   are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
      below:
 11
 12
                                                            Service information continued on attached
 13
      page
 14
      2. SERVED BY UNITED STATES MAIL:
 15   On (date) May 10, 2023, I served the following persons and/or entities at the last known addresses
      in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
 16   sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows.
 17   Listing the judge here constitutes a declaration that mailing to the judge will be completed no later
      than 24 hours after the document is filed.
 18
                                                            Service information continued on attached
 19   page
 20   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE
 21   TRANSMISSION OR EMAIL (state method for each person or entity served): Pursuant to
      F.R.Civ.P. 5 and/or controlling LBR, on (date) May 10, 2023, I served the following persons
 22   and/or entities by personal delivery, overnight mail service, or (for those who consented in writing
      to such service method), by facsimile transmission and/or email as follows. Listing the judge here
 23   constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
      completed no later than 24 hours after the document is filed.
 24
 25         The Honorable Sandra R. Defendant, USBC, 255 E. Temple Street, Ctrm 1575, Los
             Angeles, CA 90012
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                                                            Service information continued on attached
  1   page
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      I declare under penalty of perjury under the laws of the United States that the foregoing is true and
  3   correct.

  4    May 10, 2023           Susan C. Stein                           /s/Susan C. Stein
       Date                   Printed Name                             Signature
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      TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
  1
  2   Mailing Information for Case 2:23-bk-10990-SK
  3   Electronic Mail Notice List
  4   The following is the list of parties who are currently on the list to receive email notice/service for
      this case.
  5
            Reem J Bello rbello@goeforlaw.com, kmurphy@goeforlaw.com
  6         Michael Jay Berger michael.berger@bankruptcypower.com,
             yathida.nipha@bankruptcypower.com;michael.berger@ecf.inforuptcy.com
  7         Greg P Campbell ch11ecf@aldridgepite.com,
             gc@ecf.inforuptcy.com;gcampbell@aldridgepite.com
  8
            Theron S Covey tcovey@raslg.com, sferry@raslg.com
  9         Dane W Exnowski dane.exnowski@mccalla.com,
             bk.ca@mccalla.com,mccallaecf@ecf.courtdrive.com
 10         Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
            Michael Jones michael.jones4@usdoj.gov
 11         Ron Maroko ron.maroko@usdoj.gov
            Joshua L Scheer jscheer@scheerlawgroup.com, jscheer@ecf.courtdrive.com
 12
            Mark M Sharf (TR) mark@sharflaw.com,
 13          C188@ecfcbis.com;sharf1000@gmail.com;2180473420@filings.docketbird.com
            Alan G Tippie Alan.Tippie@gmlaw.com,
 14          atippie@ecf.courtdrive.com;Karen.Files@gmlaw.com,patricia.dillamar@gmlaw.com,denis
             e.walker@gmlaw.com
 15         United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
 16         Michael L Wachtell mwachtell@buchalter.com
            John P. Ward jward@attleseystorm.com, ezhang@attleseystorm.com
 17         Clarisse Young youngshumaker@smcounsel.com, levern@smcounsel.com
            Paul P Young paul@cym.law, jaclyn@cym.law
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                    EXHIBIT 1




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  B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                    ADVERSARY PROCEEDING NUMBER
                                                                                              (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                     DEFENDANTS
  ERICA VAGO and JOSEPH VAGO,                                                   LESLIE KLEIN and DOES 1 through 10,


ATTORNEYS (Firm Name, Address, and Telephone No.)                              ATTORNEYS (If Known)
GOE FORSYTHE & HODGES LLP
17701 Cowan Avenue, Suite 210, Bldg. D, Irvine, CA 92614
Telephone: (949) 798-2460 / Facsimile: (949) 955-9437
PARTY (Check One Box Only)                         PARTY (Check One Box Only)
□ Debto      □ U.S. Trustee/Bankruptcy Admin       □ X Debtor    □ U.S. Trustee/Bankruptcy Admin
□ X Creditor □ Other                               □ Creditor    □ Other
□ Trustee                                          □ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)

Complaint to Determine the Nondischargeability of Certain Debts Owed by Debtor Leslie Klein to Erica and Joseph Vago
Pursuant to 11 U.S.C. § 523 and to Deny Discharge Pursuant to Section 727(a)(12)


                                                                    NATURE OF SUIT

        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


□ 11-Recovery of money/property - §542 turnover of property                    □
    FRBP 7001(1) – Recovery of Money/Property                                  FRBP 7001(6) – Dischargeability (continued)

□ 12-Recovery of money/property - §547 preference                              □
                                                                                  61-Dischargeability - §523(a)(5), domestic support

□ 13-Recovery of money/property - §548 fraudulent transfer                     □
                                                                                  68-Dischargeability - §523(a)(6), willful and malicious injury

□ 14-Recovery of money/property - other                                        □
                                                                                  63-Dischargeability - §523(a)(8), student loan
                                                                                  64-Dischargeability - §523(a)(15), divorce or separation obligation

                                                                               □
                                                                                     (other than domestic support)

□ 21-Validity, priority or extent of lien or other interest in property
    FRBP 7001(2) – Validity, Priority or Extent of Lien                           65-Dischargeability - other


                                                                               □
                                                                               FRBP 7001(7) – Injunctive Relief

□
    FRBP 7001(3) – Approval of Sale of Property
                                                                               □
                                                                                  71-Injunctive relief – imposition of stay
    31-Approval of sale of property of estate and of a co-owner - §363(h)
                                                                                  72-Injunctive relief – other


□2 41-Objection / revocation of discharge - §727(c),(d),(e)
    FRBP 7001(4) – Objection/Revocation of Discharge
                                                                               □ 81-Subordination of claim or interest
                                                                               FRBP 7001(8) Subordination of Claim or Interest



□ 51-Revocation of confirmation
    FRBP 7001(5) – Revocation of Confirmation
                                                                               □ 91-Declaratory judgment
                                                                               FRBP 7001(9) Declaratory Judgment



□ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
    FRBP 7001(6) – Dischargeability
                                                                               □ 01-Determination of removed claim or cause
                                                                               FRBP 7001(10) Determination of Removed Action

□ 62-Dischargeability - §523(a)(2), false pretenses, false representation,
□1 67-Dischargeability                                                         □
        actual fraud                                                           Other

                                                                               □
                       - §523(a)(4), fraud as fiduciary, embezzlement,             SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
   larceny                                                                         02-Other (e.g. other actions that would have been brought in state court
                       (continued next column)
                                                                                      if unrelated to bankruptcy case)
□ Check if this case involves a substantive issue of state law                 □ Check if this is asserted to be a class action under FRCP 23
□ Check if a jury trial is demanded in complaint                               Demand $ 26,386,891.00
Other Relief Sought
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 B1040 (FORM 1040) (12/15)

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                               BANKRUPTCY CASE NO.
                LESLIE KLEIN                   2:23-bk-10990-SK
DISTRICT IN WHICH CASE IS PENDING                                     DIVISION OFFICE                   NAME OF JUDGE
   CENTRAL                                                             LOS ANGELES                         SANDRA KLEIN
                                     RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                      DEFENDANT                                                ADVERSARY
                                                                                                        PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)


    /s/Robert P. Goe


DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)
  May 10, 2023                                                          Robert P. Goe



                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
          Case 2:23-bk-10990-SK
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                                     Summons Page Page1201
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 Attorney or Party Name, Address, Telephone & FAX                          FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 ROBERT P. GOE (State Bar No. 137019
 rgoe@goeforlaw.com
 REEM J. BELLO (State Bar No. 198840)
 rbello@goeforlaw.com
 GOE FORSYTHE & HODGES LLP
 17701 Cowan Avenue, Suite 210, Bldg. D
 Irvine, CA 92614
 Telephone: (949) 798-2460
 Facsimile: (949) 955-9437


 Attorney for Plaintiff

                                        UNITED STATES BANKRUPTCY COURT
                            CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
                                                                              DIVISION

 In re:

 LESLIE KLEIN,                                                             CASE NO.: 2:23-bk-10990-SK
                                                                           CHAPTER:
                                                                           ADVERSARY NO.:

                                                           Debtor(s).
ERICA VAGO and JOSEPH VAGO,




                                                           Plaintiff(s)
                                                                              SUMMONS AND NOTICE OF STATUS
                                Versus                                     CONFERENCE IN ADVERSARY PROCEEDING
                                                                                       [LBR 7004-1]
 LESLIE KLEIN and DOES 1 through 10,




                                                       Defendant(s)
TO THE DEFENDANT: A Complaint has been filed by the Plaintiff against you. If you wish to defend against the
Complaint, you must file with the court a written pleading in response to the Complaint. You must also serve a copy of
your written response on the party shown in the upper left-hand corner of this page. The deadline to file and serve a
written response is                   . If you do not timely file and serve the response, the court may enter a judgment by
default against you for the relief demanded in the Complaint.

A status conference in the adversary proceeding commenced by the Complaint has been set for:

             Hearing Date:                                 Address:
             Time:                                            255 East Temple Street, Los Angeles, CA 90012
             Courtroom: 1575                                  3420 Twelfth Street, Riverside, CA 92501
                                                              411 West Fourth Street, Santa Ana, CA 92701
                                                              1415 State Street, Santa Barbara, CA 93101
                                                              21041 Burbank Boulevard, Woodland Hills, CA 91367

           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                        Page 1                                   F 7004-1.SUMMONS.ADV.PROC
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You must comply with LBR 7016-1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate
with the other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least
14 days before a status conference. A court-approved joint status report form is available on the court’s website (LBR
form F 7016-1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F 7016-
1.STATUS.REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file with
the court a unilateral status report and the accompanying required declaration instead of a joint status report 7 days
before the status conference. The court may fine you or impose other sanctions if you do not file a status report.
The court may also fine you or impose other sanctions if you fail to appear at a status conference.


                                                                                KATHLEEN J. CAMPBELL
                                                                                CLERK OF COURT




Date of Issuance of Summons and Notice of Status Conference in Adversary Proceeding:




                                                                                By:
                                                                                             Deputy Clerk




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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
17701 Cowan Avenue, Suite 210, Bldg. D
Irvine, CA 92614
A true and correct copy (1) of the foregoing document entitled: SUMMONS AND NOTICE OF STATUS CONFERENCE
IN ADVERSARY PROCEEDING [LBR 7004-1] and (2) the accompanying pleading(s) entitled:
Complaint to Determine the Nondischargeability of Certain Debts Owed by Debtor Leslie Klein to Erica and Joseph Vago
_________________________________________________________________________________________________
Pursuant to 11 U.S.C. § 523 and to Deny Discharge Pursuant to Section 727(a)(12)
_________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 Date                         Printed Name                                                    Signature



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 1   Baruch C. Cohen, Esq. (SBN 159455)
     LAW OFFICE OF BARUCH C. COHEN
 2           A Professional Law Corporation
     4929 Wilshire Boulevard, Suite 940
 3   Los Angeles, California 90010
     Tel: (323) 937-4501 Fax: (888) 316-6107
 4   email: baruchcohen@baruchcohenesq.com
 5   Attorney For Plaintiffs Robert & Esther Mermelstein
 6                              UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
 7                                  LOS ANGELES ANA DIVISION
 8

 9    In re                                                Case No. 2:23-bk-10990-SK

10    LESLIE KLEIN,                                        Hon. Sandra Klein

11            Debtor and Debtor in Possession,             Chapter 11

12

13    ROBERT & ESTHER MERMELSTEIN,                         COMPLAINT FOR
                                                           NONDISCHARGEABILITY
14                        Plaintiffs                       OF DEBT PURSUANT TO 11 USC §
                                                           523(a)(2)(A), 11 USC § 523(a)(4), & 11
15    vs.                                                  USC § 523(a)(6); & FOR DENIAL OF
                                                           DISCHARGE PURSUANT TO 11 USC
16    LESLIE KLEIN                                         § 727(a)(2)(A); 11 USC § 727(a)(2)(B);
                                                           11 USC § 727(a)(3); 11 USC § 727(a)(4);
17                       Defendant                         11 USC § 727(a)(5)

18

19
              TO THE HONORABLE SANDRA R. KLEIN, UNITED STATES BANKRUPTCY
20
     JUDGE, THE DEBTOR AND HIS COUNSEL, AND ALL OTHER INTERESTED
21
     PARTIES:
22
              Plaintiffs-Creditors, Robert & Esther Mermelstein (“Plaintiffs”), complain for
23
     nondischargeability of debt & for denial of discharge against Defendant-Debtor, Leslie Klein
24
     (“Defendant”), and alleges respectfully as follows:
25
                                   CORE/NON-CORE DESIGNATION
26
     1.       In accordance with Local Bankruptcy Rule 7008-1, Plaintiffs allege that this adversary
27
              proceeding constitutes a core proceeding under 28 USC § 157(b)(2). Plaintiffs
28
              acknowledge that the Court has the power to enter final orders and judgments in this
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 1         matter. Plaintiffs also consent to the Court's entry of final orders and judgments in this
 2         matter under FRBP Rule 7008..
 3                            JURISDICTION, VENUE & STANDING
 4   2.    This adversary proceeding arises under In re Klein, 2:23-bk-10990-SK, a Chapter 11 case
 5         commenced in the United States Bankruptcy Court for the Central District of California
 6         (“Bankruptcy Case”). The Court has jurisdiction under 11 USC §§ 523 and 727, and 28
 7         USC §§ 157 and 1334.
 8   3.    The venue is proper in this Court pursuant to 28 USC § 1409.
 9   4.    Plaintiffs have standing to bring this action because Plaintiffs are creditors in the
10         Bankruptcy Case under 11 USC § 101(10).
11                                              PARTIES
12   5.    The following is a description of the relevant parties involved in the facts forming the
13         basis of this Complaint.
14   6.    Plaintiffs are individuals, senior citizens residing in Brooklyn, NY.
15   7.    Defendant is an individual, whose principal residence is in Los Angeles County,
16         California and who regularly conducted business from Los Angeles County, California.
17         Defendant was a certified public accountant, formerly licensed by the State of California,
18         and a former, and an attorney licensed by the State of California.1 Defendant is the debtor
19         in the above-captioned Chapter 11 bankruptcy case.
20   ///
21

22     1
            On September 10, 1992, the Supreme Court of the State of California, in State Bar
23          Court Case No. 86-O-14258, ordered that Defendant be suspended from the practice
            of law for 18 months and further ordered that he take and pass the California
24          Professional Responsibility Examination (“CPRE”). Defendant failed the November
            1993 and January 1994 CPREs. In Case No. 86-O-14258, Defendant admitted to
25          intentional misrepresentations. On August 3, 1995, the Supreme Court of the State
            of California, in State Bar Court Case No. 92-O-11716 (consolidated with Case Nos.
26
            93-O-11825, 94-O-13951, 94-O12055, and 94-O15901) ordered that Defendant be
27          suspended from the practice of law for one year. In Case No. 92-O-11716, as
            consolidated, Defendant admitted to willful violations of Rules of Professional
28          Conduct concerning client trust accounts and conflicts of interest.

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 1                                    GENERAL ALLEGATIONS
 2   8.    The following general allegations form the background for the Plaintiffs’ claims for relief
 3         against Defendant.
 4   9.    Plaintiffs are family relatives of Defendant, are Orthodox Jews, and are the settlors and
 5         beneficiaries of the Mermelstein Charitable Remainder Unitrust Dated July 27, 2009, (the
 6         “ Mermelstein Trust”).
 7   10.   Defendant, on behalf of The Klein Charitable Remainder Unitrust dated 2-20-1996 (the
 8         “Klein Trust”) solicited Plaintiffs to invest in at least seven (7) life insurance policies: (1)
 9         Garza; (2) Times Square; (3) Ganz; (4) Spitzer; (5) Kohn; (6) Friedman; & (7)
10         Zimmerman.
11                                                GARZA
12   11.   On 8-3-2009, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
13         2-20-1996 (the “Klein Trust”) entered into a Memorandum of Agreement for Joint
14         Venture (the “Garza Memo”). The purpose of the Garza Memo, was to purchase a
15         $1,000,000.00 life insurance Policy (“Garza Policy”); American General on the life of
16         Emanuel Garza (“Garza”). In furtherance of the Garza Memo, Plaintiffs paid Klein
17         $100,000.00 towards the purchase of the Garza Policy. Defendant instructed Plaintiffs to
18         make said payments to Defendant’s IOLTA - Attorney Client Trust Account. Per the
19         Garza Memo, Defendant promised to pay the Mermelstein Trust $500,000.00
20         ($400,000.00 plus return of premiums paid; plus $100,000.00).
21   12.   On 4-30-2021, Defendant executed a First Amendment to the Memorandum of
22         Agreement for Joint Venture (Garza), changing the recipient of the $500,000.00 from the
23         Mermelstein Trust to Robert & Esther Mermelstein.
24   13.   Plaintiffs are informed and believe that Defendant sold 50% to the Garza Policy, to the
25         Longevity Fund of NY and partially to the Longevity Fund of Michigan without their
26         consent.
27   14.   Plaintiffs are informed and believe that Garza apparently died in 2018, and on or about 7-
28

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 1         2-2018, Defendant collected the Garza Proceeds, on the Garza Policy. Defendant
 2         concealed this information from Plaintiffs, misappropriated & kept the Garza Proceeds
 3         for himself, and failed to pay Plaintiffs the $500,00.00 per the Garza Memo.
 4                                         TIMES SQUARE
 5   15.   On 7-16-2012, Defendant issued Plaintiffs a Non-Recourse Promissory Note, in the
 6         amount of $333,333.00, due and payable by 7-16-2013, by Defendant on behalf of the
 7         Times Square Media Inc., containing a “Heter Iska” document (an approved way of
 8         restructuring a loan or debt so that it becomes an investment instead of a loan, per
 9         Halacha - Jewish law).
10   16.   Plaintiffs are informed and believe that Defendant had no intention of paying the Times
11         Square Non-Recourse Promissory Note, as Plaintiffs made no payments whatseoever.
12                                               GANZ
13   17.   On 8-3-2009, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
14         2-20-1996 (the “Klein Trust”) entered into a Memorandum of Agreement for Joint
15         Venture with plaintiffs (the “Ganz Memo”). The purpose of the Ganz Memo, was to
16         purchase a $1,000,000.00 life insurance Policy (“Ganz Policy”); American General on
17         the life of Emanuel Ganz (“Ganz”). In furtherance of the Ganz Memo, Plaintiffs paid
18         Klein $100,000.00 towards the purchase of the Ganz Policy. Defendant instructed
19         Plaintiffs to make said payments to Defendant’s IOLTA - Attorney Client Trust Account.
20         Per the Ganz Memo, Defendant promised to pay the Mermelstein Trust $500,000.00
21         ($400,000.00 plus return of premiums paid; plus $100,000.00).
22   18.   On 4-30-2021, Defendant executed a First Amendment to the Memorandum of
23         Agreement for Joint Venture (Ganz), changing the recipient of the $500,000.00 from the
24         Mermelstein Trust to Robert & Esther Mermelstein.
25   19.   Plaintiffs are informed and believe that Defendant apparently sold 50% to the Ganz
26         Policy, to the Longevity Fund of NY and partially to the Longevity Fund of Michigan,
27         without Plaintiff’s consent.
28

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 1   20.   Plaintiffs are informed and believe that Ganz apparently died in 2018, and on or about 7-
 2         2-2018, Defendant collected the Ganz Proceeds, on the Ganz Policy. Defendant
 3         concealed this information from Plaintiffs, misappropriated & kept the Ganz Proceeds for
 4         himself, and failed to pay Plaintiffs the $500,00.00 per the Ganz Memo.
 5                                             SPITZER
 6   21.   On 8-3-2009, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
 7         2-20-1996 (the “Klein Trust”) entered into a Memorandum of Agreement for Joint
 8         Venture with Plaintiffs (the “Spitzer Memo”). The purpose of the Spitzer Memo, was to
 9         make premium payments of a $5,000,000.00 life insurance Policy Number: US
10         0023546L (“Spitzer Policy”); American General on the life of Malvine Spitzer
11         (“Spitzer”). In furtherance of the Spitzer Memo, Plaintiffs paid Defendant $250,000.00
12         towards the purchase of the Spitzer Policy. Defendant instructed Plaintiffs to make said
13         payments to Defendant’s IOLTA - Attorney Client Trust Account. Per the Spitzer Memo,
14         Defendant promised to pay the Mermelstein Trust $2,250,000.00 ($2,000,000 plus
15         $250,000 and all premiums paid of the proceeds).
16   22.   On 4-30-2021, Defendant executed a First Amendment to the Memorandum of
17         Agreement for Joint Venture (Spitzer), changing the recipient of the $2,250,000.00 from
18         the Mermelstein Trust to Robert & Esther Mermelstein.
19   23.   Plaintiffs are informed and believe that Defendant apparently sold portions of the Spitzer
20         Policy, without their consent - but Plaintiffs do not know to whom. Defendant concealed
21         this information from Plaintiffs.
22                                              KOHN
23   24.   On 3-10-2010, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
24         2-20-1996 (the “Klein Trust”) entered into a Memorandum of Agreement for Joint
25         Venture with Plaintiffs (the “Kohn Memo”). The purpose of the Kohn Memo, was to
26         make premium payments of a $3,000,000.00 life insurance Policy (“Kohn Policy”);
27         American General on the life of Eugene Kohn (“Kohn”). In furtherance of the Kohn
28

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 1         Memo, Plaintiffs paid Defendant $200,000.00 towards the purchase of the Kohn Policy.
 2         Defendant instructed Plaintiffs to make said payments to Defendant’s IOLTA - Attorney
 3         Client Trust Account. Per the Kohn Memo, Defendant promised to pay the Mermelstein
 4         Trust $1,200,000.00 ($200,000 and $1,000,000 and all premiums paid of the proceeds).
 5   25.   On 4-30-2021, Klein executed a First Amendment to the Memorandum of Agreement for
 6         Joint Venture (Kohn), changing the recipient of the $1,200,000.00 from the Mermelstein
 7         Trust to Robert & Esther Mermelstein.
 8   26.   Plaintiffs are informed and believe that Defendant paid premiums of the Kohn Policy up
 9         to 2011. Thereafter, Defendant apparently sold portions or the entirety of the Kohn
10         Policy - without Plaintiffs’ consent - to Life Capital Group, LLC (“LCG”), where Shlomo
11         Yehuda Rechnitz (“Rechnitz”) was to resume paying the Kohn Policy premiums from
12         2011 onwards. Defendant concealed this information from Plaintiffs.
13   27.   According to information recently received by Plaintiffs an unsigned Amended and
14         Restated Limited Liability Company Agreement of Life Capital Group, LLC, Defendant
15         and Rechnitz agreed that upon the death of Kohn, Defendant and Rechnitz would be
16         reimbursed the premiums that they paid, plus interest on the premiums. Thereafter,
17         Defendant and Rechnitz would split the profits 50/50 of the Kohn Policy, and that
18         Plaintiffs would receive their $1,200,000.00.
19                                           FRIEDMAN
20   28.   On 3-1-2010, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
21         2-20-1996 (the “Klein Trust”) entered into a Memorandum of Agreement for Joint
22         Venture with Plaintiffs (the “Friedman Memo”). The purpose of the Friedman Memo,
23         was to purchase a $1,500,000.00 life insurance Policy (“Friedman Policy”); American
24         General on the life of Goldie Friedman (“Friedman”). In furtherance of the Friedman
25         Memo, Plaintiffs paid Klein $250,000.00 towards the purchase of the Friedman Policy.
26         Defendant instructed Plaintiffs to make said payments to Defendant’s IOLTA - Attorney
27         Client Trust Account. Per the Friedman Memo, Defendant promised to pay the
28

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 1         Mermelstein Trust $1,000,000.00 ($250,000.00 and $750,000.00 and all premiums paid
 2         of the proceeds).
 3   29.   On 4-30-2021, Defendant executed a First Amendment to the Memorandum of
 4         Agreement for Joint Venture (Friedman), changing the recipient of the $1,000,000.00
 5         from the Mermelstein Trust to Robert & Esther Mermelstein.
 6   30.   Plaintiffs are informed and believe that Defendant apparently sold portions of the
 7         Friedman Policy, to the Longevity Fund of NY and partially to the Longevity Fund of
 8         Michigan, without Plaintiff’s consent.
 9   31.   Plaintiffs are informed and believe that Friedman apparently died in 2020, and Defendant
10         collected the Friedman Proceeds, on the Friedman Policy. Defendant concealed this
11         information from Plaintiffs, misappropriated & kept the Friedman Proceeds for himself,
12         and failed to pay Plaintiffs the $1,000,000.00 per the Friedman Memo.
13                                          ZIMMERMAN
14   32.   On 8-3-2009, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
15         2-20-1996 (the “Klein Trust”) entered into a Memorandum of Agreement for Joint
16         Venture with Plaintiffs (the “Zimmerman Memo”). The purpose of the Zimmerman
17         Memo, was to purchase a $9,000,000.00 life insurance Policy (“Zimmerman Policy”);
18         American General Policy # US 0023738L on the life of Rozy Pearl Zimmerman
19         (“Zimmerman”). In furtherance of the Zimmerman Memo, Plaintiffs paid Defendant
20         $150,000.00 towards the purchase of the Zimmerman Policy. Defendant instructed
21         Plaintiffs to make said payments to Defendant’s IOLTA - Attorney Client Trust Account.
22         Per the Zimmerman Memo, Defendant promised to pay the Mermelstein Trust
23         $2,400,000.00 ($2,250,000.00 plus $150,000.00).
24   33.   On 4-30-2021, Defendant executed a First Amendment to the Memorandum of
25         Agreement for Joint Venture (Zimmerman), changing the recipient of the $2,400,000.00
26         from the Mermelstein Trust to Robert & Esther Mermelstein.
27   34.   Plaintiffs are informed and believe that Defendant paid premiums of the Zimmerman
28

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 1         Policy up to 2011. Thereafter, Defendant apparently sold portions or the entirety of the
 2         Zimmerman Policy to Life Capital Group, LLC (“LCG”) - without Plaintiffs’ consent - ,
 3         where Shlomo Yehuda Rechnitz (“Rechnitz”) was to resume paying the Zimmerman
 4         Policy premiums from 2011 onwards. Defendant concealed this information from
 5         Plaintiffs.
 6   35.   Defendant, as Trustee of the Rozy Pearl Zimmerman Irrevocable Life Insurance Trust
 7         (the “Zimmerman Trust”) issued three Non-Recourse Promissory Notes (the
 8         “Zimmerman Notes”) to Plaintiffs secured by the Zimmerman Policy in the amount of
 9         $2,357,679.50:
10         a.      Non-Recourse Promissory Notes # 1, principal sum of $1,412,679.53, dated June
11                 15, 2011 - due June 15, 2020 (the “$1,412,679.53 Zimmerman Note”);
12         b.      Non-Recourse Promissory Notes # 2, principal sum of $570,000.00, dated
13                 December 7, 2009 - due December 7, 2019 (the: “$570,000.00 Zimmerman
14                 Note”);
15         c.      Non-Recourse Promissory Notes # 2, principal sum of $375,000.00, dated
16                 January 14, 2010 - due January 14, 2020 (the “$375,000.00 Zimmerman Note”).
17         d.      Interest on the three Non-Recourse Zimmerman Notes until 4-30-2023 comes to
18                 $2,939,936.84. Therefore the total amount of the claim is: $7,697,616.34
19                 ($2,400,000.00 (Zimmerman Policy) + $2,357,679.50 (3 Zimmerman Notes) +
20                 2,939,936.84 (interest) = $7,697,616.34.
21   36.   According to information recently received by Plaintiffs, an unsigned Amended and
22         Restated Limited Liability Company Agreement of Life Capital Group, LLC, Defendant
23         and Rechnitz agreed that upon the death of Zimmerman, Defendant and Rechnitz would
24         be reimbursed the premiums that they paid, plus interest on the premiums. Thereafter,
25         Defendant and Rechnitz would split the profits 50/50 of the Zimmerman Policy, and that
26         Plaintiffs would receive their $2,400,000.00. Defendant concealed this information from
27         Plaintiffs.
28

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 1    PERIODIC PAYMENTS TO PLAINTIFFS FROM DEFENDANT’S IOLTA ACCOUNT
 2   37.   During this entire time, Defendant repeatedly assured Plaintiffs that their investments in
 3         the 7 policies were secure and accruing interest. Defendant mailed Plaintiffs periodic
 4         monthly checks of $5,000.00 issued from Defendant’s IOLTA - Attorney Client Trust
 5         Account.
 6                     PLAINTIFFS’ DISCOVERY OF DEFENDANT’S FRAUD
 7   38.   On or about 1-21-2021, Plaintiffs discovered the above-referenced frauds and
 8         concealment.
 9   39.   On or about 6-22-2022, Defendant wrote Plaintiffs assuring them that their investments
10         were “secure” when in reality, Defendant sold them off to third parties without Plaintiffs’
11         consent:
12         I received you e mail and I disagree. I paid in on the Zmerman policy over
           $1,000,000. The interest for the last 10 years is over $2,300,000 . I also own
13         25%of the profits. You are well secured. You can call me if you have any
           questions. [Emphasis Added]
14
     40.   On or about 7-18-2022, Defendant wrote Plaintiffs admitting that he used Plaintiffs’
15
           monies from the Friedman Garza and Gans to pay for his legal fees in his lawsuit with
16
           Rechnitz.
17
           I got your email. I want to make it very clear we are family and I don’t want to
18         fight. I think I can make a deal with Rechnitz because I have the best lawyers in
           LA. If not we will go to court. I have big leverage on Rechnitz due to the Menlo
19         case. I am not assigning the Zimmerman case to you. I am using the money from
           the Friedman Garza and Gans cases for attorney fees in the Rechnitz case. On
20         Zimmerman Rechnitz and I paid $4,000,000 in premiums but it is return of
           premium. We also gave Mrs Zimmerman $200,000. I am sure they will sue to get
21         more. It is a big policy and all big policies have big fights. [Emphasis Added]
22                              PLAINTIFFS’ PROOF OF CLAIMS
23   41.   Plaintiffs timely filed seven (7) Proofs of Claim against Defendant totaling $13,480,949,
24         primarily based on Defendant misappropriating insurance policies and the proceeds, as
25         follows:
26         a.     Claim # 19-1 (Garza) $500,000.00;
27         b.     Claim # 20-1 (Times Square) $333,333.00;
28

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 1         c.     Claim # 21-1 (Ganz) $500,000.00;
 2         d.     Claim # 22-1 (Spitzer) $2,250,000.00;
 3         e.     Claim # 23-1 (Kohn) $1,200,000.00;
 4         f.     Claim # 24-1 (Friedman) $1,000,000.00; &
 5         g.     Claim # 25-2 (Zimmerman) $7,697,616.34.
 6                TOTAL:           $13,480,949
 7                                  FIRST CLAIM FOR RELIEF
                          (Nondischargeability of Debt - 11 USC § 523(a)(2)(A))
 8
     42.   Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
 9
           in this Complaint as though fully set forth herein.
10
     43.   At all relevant times, Defendant acted as Plaintiffs’ fiduciary - investment adviser.
11
           Plaintiffs entrusted Defendant implicitly with their investments in the insurance policies.
12
     44.   Defendant owed Plaintiffs fiduciary duties at all relevant times, including the duty of
13
           loyalty and candor. Defendant further owed a duty to use Plaintiffs’ funds for legitimate
14
           business purposes and to refrain from using their funds and other property for his own
15
           personal non-business purposes.
16
     45.   Defendant embezzled and stole from Plaintiffs. Defendant misrepresented the above-
17
           referenced information to Plaintiffs for the purpose of convincing Plaintiffs to invest in
18
           additional policies into Defendant’s IOLTA client trust account. Defendant then stole
19
           more than $13,480,949 of Plaintiffs’ money in a complicated life insurance scam,
20
           constituting intentional fraudulent, fraudulent concealment, breach of fiduciary duty and
21
           elder abuse.
22
     46.   Defendant’s misappropriation of Plaintiffs’ funds and other property was unauthorized,
23
           without their consent and fraudulent. Defendant acted with the intent to permanently
24
           deprive Plaintiffs of the possession, use and benefit of their funds and other property.
25
     47.   As a result of Defendant’s unauthorized and fraudulent misappropriation of Plaintiffs’
26
           funds and other property and Defendant’s false pretenses, false representations, and
27
           actual fraud set forth herein, Plaintiffs have suffered damages in the amount of not less
28

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 1         than $13,480,949.
 2   48.   Defendant’s debt to Plaintiffs is nondischargeable under 11 USC § 523(a)(2) because it
 3         was incurred as a result of false pretenses, false representations, and actual fraud.
 4   49.   The damages arising from Defendant’s willful and malicious false pretenses, false
 5         representation and actual fraud to Plaintiffs constitutes a debt against Defendant that is
 6         nondischargeable pursuant to 11 USC § 523(a)(2)(A).
 7                                SECOND CLAIM FOR RELIEF
                          (Nondischargeability of Debt - 11 USC § 523(a)(4))
 8
     50.   Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
 9
           in this Complaint as though fully set forth herein.
10
     51.   At all relevant times, Defendant acted as Plaintiffs’ fiduciary - investment adviser.
11
           Plaintiffs entrusted Defendant implicitly with their investments in the insurance policies.
12
     52.   Defendant owed Plaintiffs fiduciary duties at all relevant times, including the duty of
13
           loyalty and candor. Defendant further owed a duty to use Plaintiffs’ funds for legitimate
14
           business purposes and to refrain from using their funds and other property for his own
15
           personal non-business purposes.
16
     53.   Defendant embezzled and stole from Plaintiffs. Defendant misrepresented the above-
17
           referenced information to Plaintiffs for the purpose of convincing Plaintiffs to invest in
18
           additional policies into Defendant’s IOLTA client trust account. Defendant then stole
19
           more than $13,480,949 of Plaintiffs’ money in a complicated life insurance scam,
20
           constituting intentional fraudulent, fraudulent concealment, breach of fiduciary duty and
21
           elder abuse.
22
     54.   Defendant’s misappropriation of Plaintiffs’ funds and other property was unauthorized,
23
           without their consent and fraudulent. Defendant acted with the intent to permanently
24
           deprive Plaintiffs of the possession, use and benefit of their funds and other property.
25
     55.   As a result of Defendant’s unauthorized and fraudulent misappropriation of Plaintiffs’
26
           funds and other property and Defendant’s false pretenses, false representations, and
27
           actual fraud set forth herein, Plaintiffs have suffered damages in the amount of not less
28

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 1         than $13,480,949.
 2   56.   The damages to Plaintiffs arising from Defendant’s fraud, defalcation, embezzlement and
 3         larceny while acting in a fiduciary capacity constitutes a debt against Defendant that is
 4         non-dischargeable pursuant to 11 USC § 523(a)(4).
 5                                 THIRD CLAIM FOR RELIEF
                          (Nondischargeability of Debt - 11 USC § 523(a)(6))
 6
     57.   Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
 7
           in this Complaint as though fully set forth herein.
 8
     58.   At all relevant times, Defendant acted as Plaintiffs’ fiduciary - investment adviser.
 9
           Plaintiffs entrusted Defendant implicitly with their investments in the insurance policies.
10
     59.   Defendant owed Plaintiffs fiduciary duties at all relevant times, including the duty of
11
           loyalty and candor. Defendant further owed a duty to use Plaintiffs’ funds for legitimate
12
           business purposes and to refrain from using their funds and other property for his own
13
           personal non-business purposes.
14
     60.   Defendant embezzled and stole from Plaintiffs. Defendant misrepresented the above-
15
           referenced information to Plaintiffs for the purpose of convincing Plaintiffs to invest in
16
           additional policies into Defendant’s IOLTA client trust account. Defendant then stole
17
           more than $13,480,949 of Plaintiffs’ money in a complicated life insurance scam,
18
           constituting intentional fraudulent, fraudulent concealment, breach of fiduciary duty and
19
           elder abuse.
20
     61.   Defendant’s misappropriation of Plaintiffs’ funds and other property was unauthorized,
21
           without their consent and fraudulent. Defendant acted with the intent to permanently
22
           deprive Plaintiffs of the possession, use and benefit of their funds and other property.
23
     62.   As a result of Defendant’s unauthorized and fraudulent misappropriation of Plaintiffs’
24
           funds and other property and Defendant’s false pretenses, false representations, and
25
           actual fraud set forth herein, Plaintiffs have suffered damages in the amount of not less
26
           than $13,480,949.
27
     63.   The damages to Plaintiffs arising from Defendant’s willful and malicious injury to
28

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 1         Plaintiffs constitutes a debt against Defendant that is non-dischargeable pursuant to 11
 2         USC § 523(a)(6).
 3                                 FOURTH CAUSE OF ACTION
                       (Objection to Debtor’s Discharge 11 USC § 727(a)(2)(A))
 4
     64.   Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
 5
           in this Complaint as though fully set forth herein.
 6
     65.   Plaintiffs are informed and believe that within one year before the Petition, Defendant
 7
           transferred, removed, and/or concealed, or permitted to be transferred, removed, and/or
 8
           concealed, Defendant’s property.
 9
     66.   As of the dates of the transfers, removals, and/or concealments of Defendant’s property,
10
           Defendant had one or more unsecured creditors.
11
     67.   The transfers, removals, and/or concealments of Defendant’s property prevented the
12
           distribution of Defendant’s property to Defendant’s unsecured creditors.
13
     68.   Defendant, with intent to hinder, delay, and/or defraud at least one of Defendant’s
14
           creditors, including, without limitation, Plaintiffs, transferred, removed, and/or
15
           concealed, or permitted to be transferred, removed, and/or concealed, Defendant’s
16
           property.
17
     69.   By transferring, removing, concealing, and/or permitting the transfer, removal, and/or
18
           concealment of Defendant’s property with the intent to hinder, delay, and/or defraud at
19
           least one of Defendant’s creditors, Defendant violated 11 USC § 727(a)(2)(A).
20
     70.   Defendant failed to list valuable property on his schedule of assets and failed in his
21
           statement of affairs to disclose property transfers.
22
     71.   Defendant has a reckless indifference to the truth.
23
                                     FIFTH CAUSE OF ACTION
24                     (Objection to Debtor’s Discharge 11 USC § 727(a)(2)(B))
25   72.   Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
26         in this Complaint as though fully set forth herein.
27   73.   Plaintiffs are informed and believe that After the Petition, Defendant transferred,
28

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 1         removed, concealed, and/or permitted to be transferred, removed, and/or concealed,
 2         property of the Bankruptcy estate.
 3   74.   As of the dates of the transfers, removals, and/or concealments of the property of the
 4         estate, Defendant had one or more unsecured creditors.
 5   75.   The transfers, removals, and/or concealments of the property of the estate prevented the
 6         distribution of this property to Defendant’s unsecured creditors.
 7   76.   Defendant, with intent to hinder, delay, and/or defraud at least one of Defendant’s
 8         creditors, transferred, removed, and/or concealed, or permitted to be transferred,
 9         removed, and/or concealed, property of the estate.
10   77.   By transferring, removing, concealing, and/or permitting the transfer, removal, and/or
11         concealment of estate property, with the intent to hinder, delay, and/or defraud at least
12         one of Defendant’s creditors, Defendant violated 11 USC § 727(a)(2)(B).
13   78.   Defendant failed to list valuable property on his schedule of assets and failed in his
14         statement of affairs to disclose property transfers.
15   79.   Defendant has a reckless indifference to the truth.
16                                  SIXTH CAUSE OF ACTION
                        (Objection to Debtor’s Discharge 11 USC § 727(a)(3)
17
     80.   Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
18
           in this Complaint as though fully set forth herein.
19
     81.   Plaintiffs are informed and believe that Defendant has not maintained adequate books
20
           and records from which Debtor’s financial condition can be ascertained. Debtor has
21
           consistently not maintained adequate books and records. His failure to keep adequate
22
           books and records is not justified considering the circumstances articulated in this
23
           Complaint.
24
     82.   Defendant has concealed, destroyed, falsified, and/or failed to keep or preserve
25
           information from which Defendant’s financial condition and/or business transactions
26
           might be ascertained.
27
     83.   Defendant has not been cooperative with the Office of the United States Trustee
28

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 1         ("OUST") or with his creditors. Defendant has intentionally withheld records, books,
 2         documents, and/or other papers relating to Defendant’s property and/or financial affairs.
 3   84.   Considering the foregoing, Defendant’s discharge must be denied under 11 USC §
 4         727(a)(3).
 5                               SEVENTH CAUSE OF ACTION
                        (Objection to Debtor’s Discharge 11 USC § 727(a)(4)
 6
     85.   Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
 7
           in this Complaint as though fully set forth herein.
 8
     86.   Plaintiffs are informed and believe that Defendant has not made simple isolated errors or
 9
           omissions in his Bankruptcy filings. Defendant’s filings, such as his schedules and
10
           statement of affairs, do not reflect inadvertence or incompetence; rather, they exhibit
11
           fraudulent intent.
12
     87.   Defendant has a pattern of misleading conduct.
13
     88.   Defendant has a reckless indifference to the truth.
14
     89.   Defendant has failed to list assets in his schedules.
15
     90.   Defendant has falsely testified in the 341 Meeting.2
16

17
      2
            At the 3-13-2023 341(a) Meeting, Defendant at circa 11:15 testified in response to
18          omissions to be brought to the attention of the United States Trustee (“UST”), that
            there were only “three minor errors” which he thought that his attorney corrected.
19
            Defendant testified that there were “no” errors related to any assets that he owns. At
20          circa 12:52, Defendant testified that he identified all assets on his schedules.
            Defendant at circa 1:18:30-1:09:21 testified that in the year before the Bankruptcy,
21          he received no commissions from his third-party life insurance deals. At circa
            1:20:18, Defendant testified that he has not ever collected money on his third-party
22          life insurance deals. At circa 1:22:18, Defendant testified that he has never received
23          a payoff on his third-party life insurance deals. At circa 1:23:21, Defendant testified
            that four people have died and that he has received no money. Defendant at circa
24          1:39:00 testified, in response to whether he had transactions with Shlomo Rechnitz
            in the last five or six months relating to the thirdparty life insurance policies, “nope.”
25          Defendant testified that he does not remember paying the premiums for these
            policies out of his attorney client trust account at any time. Defendant at circa
26
            1:40:03 testified that he does not remember depositing his own funds into his
27          attorney-client trust account so that these insurance premiums could be paid. In
            response to the question of whether Defendant traveled out of the country anywhere
28          recently, other than Israel, Defendant at circa 2:23:00 testified, “nope.” In response

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 1   91.   Defendant has knowingly and fraudulently made false oaths and/or accounts in the
 2         Bankruptcy Case.
 3   92.   Defendant has failed to provide records which are necessary for the OUST and his
 4         creditors to properly understand Defendant’s financial condition and/or recent business
 5         transactions.
 6   93.   Considering the foregoing, Defendant’s discharge must be denied under 11 USC §
 7         727(a)(4).
 8                                   EIGHTH CAUSE OF ACTION
                           (Objection to Debtor’s Discharge 11 USC § 727(a)(5)
 9
     94.   Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
10
           in this Complaint as though fully set forth herein.
11
     95.   Defendant has failed to explain satisfactorily his deficiency and/or loss of assets to meet
12
           Debtor’s liabilities. No determination has yet been made of an entitlement to a discharge
13
           in this Bankruptcy Case.
14
     96.   Considering the foregoing, Defendant’s discharge must be denied under 11 USC §
15
           727(a)(5).
16
                                        PRAYER FOR RELIEF
17
           WHEREFORE, Plaintiffs request judgment on the Complaint as follows:
18
     1.    On the First Claim for Relief, Plaintiffs seek an order determining that Defendant is
19
           indebted to Plaintiffs in an amount not less than $13,480,949 and that Defendant’s debt is
20
           excepted from discharge pursuant to 11 USC § 523(a)(2)(A);
21
     2.    On the Second Claim for Relief, Plaintiffs seek an order determining that Defendant is
22
           indebted to Plaintiffs in an amount not less than $13,480,949 and that Defendant’s debt is
23
           excepted from discharge pursuant to 11 USC § 523(a)(4);
24
     3.    On the Third Claim for Relief, Plaintiffs seek an order determining that Defendant is
25

26
            to the question of whether Defendant has bank accounts in Israel, Defendant at circa
27          2:26:48 testified, “nope.” Defendant at circa 2:59:15 testified that he has not
            transferred any assets within the last year to a third party. Defendant at circa 2:59:33
28          testified that he has not given any gifts more than $12,000.00 to his family.

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 1         indebted to Plaintiffs in an amount not less than $13,480,949 and that Defendant’s debt is
 2         excepted from discharge pursuant to 11 USC § 523(a)(6);
 3   4.    On the Fourth Claim for Relief, Plaintiffs seek an order denying Defendant his discharge
 4         pursuant to 11 USC § 727(a)(2)(A);
 5   5.    On the Fifth Claim for Relief, Plaintiffs seek an order denying Defendant his discharge
 6         pursuant to 11 USC § 727(a)(2)(B);
 7   6.    On the Sixth Claim for Relief, Plaintiffs seek an order denying Defendant his discharge
 8         pursuant to 11 USC § 727(a)(3);
 9   7.    On the Seventh Claim for Relief, Plaintiffs seek an order denying Defendant his
10         discharge pursuant to 11 USC § 727(a)(4);
11   8.    On the Eighth Claim for Relief, Plaintiffs seek an order denying Defendant his discharge
12         pursuant to 11 USC § 727(a)(5);
13   9.    For costs of suit incurred herein; and
14   10.   For such other and further relief as the Court may deem appropriate.
15
     DATED:       May 12, 2023                      LAW OFFICE OF BARUCH C. COHEN
16                                                  A Professional Law Corporation
17                                                  By     /S/ Baruch C. Cohen
                                                    Baruch C. Cohen, Esq.
18                                                  Attorney For Creditors Robert & Esther
                                                    Mermelstein
19

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  B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                               (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                      DEFENDANTS
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ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
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:LOVKLUH%RXOHYDUG6XLWH/RV$QJHOHV&$

PARTY (Check One Box Only)                         PARTY (Check One Box Only)
Ƒ 'HEWRU    Ƒ 86 Trustee/Bankruptcy Admin        Ƒ
                                                   ; Debtor      Ƒ U.S. Trustee/Bankruptcy Admin
Ƒ &UHGLWRU
;           Ƒ 2WKHU                                Ƒ Creditor    Ƒ Other
Ƒ 7UXVWHH                                          Ƒ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
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                                                                    NATURE OF SUIT

        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

    FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)
Ƒ 11-Recovery of money/property - §542 turnover of property                     Ƒ  61-Dischargeability - §523(a)(5), domestic support
Ƒ 12-Recovery of money/property - §547 preference                               Ƒ
                                                                                ; 68-Dischargeability - §523(a)(6), willful and malicious injury
Ƒ 13-Recovery of money/property - §548 fraudulent transfer                      Ƒ  63-Dischargeability - §523(a)(8), student loan
Ƒ 14-Recovery of money/property - other                                         Ƒ  64-Dischargeability - §523(a)(15), divorce or separation obligation
                                                                                      (other than domestic support)
    FRBP 7001(2) – Validity, Priority or Extent of Lien
Ƒ 21-Validity, priority or extent of lien or other interest in property         Ƒ  65-Dischargeability - other

                                                                                FRBP 7001(7) – Injunctive Relief

Ƒ
    FRBP 7001(3) – Approval of Sale of Property                                 Ƒ  71-Injunctive relief – imposition of stay
    31-Approval of sale of property of estate and of a co-owner - §363(h)
                                                                                Ƒ  72-Injunctive relief – other

    FRBP 7001(4) – Objection/Revocation of Discharge
Ƒ; 41-Objection / revocation of discharge - §727(c),(d),(e)                     FRBP 7001(8) Subordination of Claim or Interest
                                                                                Ƒ 81-Subordination of claim or interest
    FRBP 7001(5) – Revocation of Confirmation
Ƒ 51-Revocation of confirmation                                                 FRBP 7001(9) Declaratory Judgment
                                                                                Ƒ 91-Declaratory judgment
    FRBP 7001(6) – Dischargeability
Ƒ; 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims             FRBP 7001(10) Determination of Removed Action
                                                                               Ƒ
Ƒ 62-Dischargeability - §523(a)(2), false pretenses, false representation,         01-Determination of removed claim or cause

       actual fraud                                                            Other
Ƒ; 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny Ƒ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
                    (continued next column)                                    Ƒ 02-Other (e.g. other actions that would have been brought in state court
                                                                                         if unrelated to bankruptcy case)
Ƒ Check if this case involves a substantive issue of state law                  Ƒ Check if this is asserted to be a class action under FRCP 23
Ƒ &KHFNLIDMXU\trial is demanded in complaint                                Demand $ 
Other Relief Sought
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 B1040 (FORM 1040) (12/15)

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                               BANKRUPTCY CASE NO.
                         /(6/,(./(,1                                                                EN6.
DISTRICT IN WHICH CASE IS PENDING                                     DIVISION OFFICE                      NAME OF JUDGE
&HQWUDO'LVWULFWRI&DOLIRUQLD                                            /RV$QJHOHV                       .OHLQ
                                     RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                      DEFENDANT                                                   ADVERSARY
                                                                                                           PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                      NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF))




DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)
                                                               %DUXFK&&RKHQ(VT



                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
       Case 2:23-bk-10990-SK
            2:23-ap-01153-SK Doc
                             Doc 261
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 Attorney or Party Name, Address, Telephone & FAX                         FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 Baruch C. Cohen, Esq. (SBN 159455)
 LAW OFFICE OF BARUCH C. COHEN
  A Professional Law Corporation
 4929 Wilshire Boulevard, Suite 940
 Los Angeles, California 90010
 (323) 937-4501 Facsimile: (888) 316-6107
 Email: baruchcohen@baruchcohenesq.com




 Attorney for Plaintiff

                                       UNITED STATES BANKRUPTCY COURT
                           CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
                                                                             DIVISION

 In re:
 LESLIE KLEIN
                                                                          CASE NO.: 2:23-bk-10990-SK
                                                                          CHAPTER: 11
                                                                          ADVERSARY NO.:

                                                          Debtor(s).
ROBERT & ESTHER MERMELSTEIN




                                                          Plaintiff(s)
                                                                             SUMMONS AND NOTICE OF STATUS
                               Versus                                     CONFERENCE IN ADVERSARY PROCEEDING
 LESLIE KLEIN                                                                         [LBR 7004-1]




                                                      Defendant(s)
TO THE DEFENDANT: A Complaint has been filed by the Plaintiff against you. If you wish to defend against the
Complaint, you must file with the court a written pleading in response to the Complaint. You must also serve a copy of
your written response on the party shown in the upper left-hand corner of this page. The deadline to file and serve a
written response is                   . If you do not timely file and serve the response, the court may enter a judgment by
default against you for the relief demanded in the Complaint.

A status conference in the adversary proceeding commenced by the Complaint has been set for:

            Hearing Date:                                 Address:
            Time:                                            255 East Temple Street, Los Angeles, CA 90012
            Courtroom:                                       3420 Twelfth Street, Riverside, CA 92501
                                                             411 West Fourth Street, Santa Ana, CA 92701
                                                             1415 State Street, Santa Barbara, CA 93101
                                                             21041 Burbank Boulevard, Woodland Hills, CA 91367

          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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You must comply with LBR 7016-1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate
with the other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least
14 days before a status conference. A court-approved joint status report form is available on the court’s website (LBR
form F 7016-1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F 7016-
1.STATUS.REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file with
the court a unilateral status report and the accompanying required declaration instead of a joint status report 7 days
before the status conference. The court may fine you or impose other sanctions if you do not file a status report.
The court may also fine you or impose other sanctions if you fail to appear at a status conference.


                                                                                KATHLEEN J. CAMPBELL
                                                                                CLERK OF COURT




Date of Issuance of Summons and Notice of Status Conference in Adversary Proceeding:




                                                                                By:
                                                                                             Deputy Clerk




          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:



A true and correct copy (1) of the foregoing document entitled: SUMMONS AND NOTICE OF STATUS CONFERENCE
IN ADVERSARY PROCEEDING [LBR 7004-1] and (2) the accompanying pleading(s) entitled:
_________________________________________________________________________________________________
_________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 Date                         Printed Name                                                    Signature



          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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       EXHIBIT E
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                                   BEFORE THE
                        CALIFORNIA BOARD OF ACCOUNTANCY
                        DEPARTMENT OF CONSUMER AFFAIRS
                              STATE OF CALIFORNIA




 In the Matter of the Accusation Against:         Case No. AC-2019-62
 LESLIE KLEIN                                    OAH No. 2019090073
 322 N. June Street
 Los Angeles, CA 90004
 Certified Public Accountant Certificate No.
 67454
                                   Respondent.



                                   DECISION AND ORDER
       The attached Stipulated Surrender of License and Order is hereby adopted by the
 California Board of Accountancy, Department of Consumer Affairs, as its Decision in this
 matter.
                                                  May 13, 2020
       This Decision shall become effective on -----------
                          April 13, 2020
       It is so ORDERED ----------



                            FOR THE CALIFORNIA BOARD OF ACCOUNTANCY
                            DEPARTMENT OF CONSUMER AFFAIRS
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          EXHIBIT I
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B2540 (Form 2540 – Subpoena for Rule 2004 Examination) (12/15)
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                                   UNITED STATES BANKRUPTCY COURT
                                                         Central District of California, Los Angeles Division

In re LESLIE KLEIN.                                                         Case No.       2:23-bk-10990-SK
                                  Debtor
                                                                            Chapter       11


                                           SUBPOENA FOR RULE 2004 EXAMINATION

To: Axos Financial, Inc. d/b/a Axos Bank, Axos Clearing LLC and Axos Invest, Inc.
                                                      (Name of person to whom the subpoena is directed)


   Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at an examination
under Rule 2004, Federal Rules of Bankruptcy Procedure. A copy of the court order authorizing the examination is attached.
PLACE                                                                                          DATE AND TIME
    Pachulski Stang Ziehl & Jones LLP                                                            September 11, 2023 at 10:00 a.m.
    10100 Santa Monica Blvd., 13th Floor
    Los Angeles, CA 90067

The examination will be recorded by this method:

   Production: YOU ARE COMMANDED to produce the documents set forth on Exhibit A hereto and complete the
written questions included as Exhibit B.



        The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
doing so.

Date: August 16, 2023
                                 CLERK OF COURT

                                                                           OR

                                 Signature of Clerk or Deputy Clerk               Attorney’s signature


The name, address, email address, and telephone number of the attorney representing
       Chapter 11 Trustee          , who issues or requests this subpoena, are: Jeffrey P. Nolan, Pachulski Stang Ziehl
& Jones LLP, 10100 Santa Monica Blvd., 13th Floor, Los Angeles, California 90067, Telephone: (310) 277-6910


                                        Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).




                                                                                                                      American LegalNet, Inc.
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                                                             PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any):
on (date)              .

    I served the subpoena by delivering a copy to the named person as follows:

                                                     on (date)                             ; or

    I returned the subpoena unexecuted because:



Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $                                                       .

My fees are $                    for travel and $                 for services, for a total of $            .


          I declare under penalty of perjury that this information is true and correct.

Date:

                                                                                                     Server’s signature


                                                                                                   Printed name and title



                                                                                                     Server’s address


Additional information concerning attempted service, etc.:




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                             Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                         (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)
(c) Place of compliance.                                                                 (ii) disclosing an unretained expert's opinion or information that does
                                                                                    not describe specific occurrences in dispute and results from the expert's
   (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                       (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                          modifying a subpoena, order appearance or production under specified
     (B) within the state where the person resides, is employed, or regularly       conditions if the serving party:
transacts business in person, if the person                                               (i) shows a substantial need for the testimony or material that cannot
       (i) is a party or a party’s officer; or                                      be otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur substantial                 (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                            compensated.

  (2)For Other Discovery. A subpoena may command:                                   (e) Duties in Responding to a Subpoena.
     (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,           (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                      procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                    information:
                                                                                         (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                    documents must produce them as they are kept in the ordinary course of
                                                                                    business or must organize and label them to correspond to the categories in
     (1) Avoiding Undue Burden or Expense; Sanctions. A party or                    the demand.
attorney responsible for issuing and serving a subpoena must take                        (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person              Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is             electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —                a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a               usable form or forms.
party or attorney who fails to comply.                                                   (C) Electronically Stored Information Produced in Only One Form. The
                                                                                    person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                    information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                         (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                    responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                    from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                    of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                    order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                    reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                    made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                    requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                    26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,           (2) Claiming Privilege or Protection.
the following rules apply:                                                               (A) Information Withheld. A person withholding subpoenaed
       (i) At any time, on notice to the commanded person, the serving party        information under a claim that it is privileged or subject to protection as
may move the court for the district where compliance is required for an             trial-preparation material must:
order compelling production or inspection.                                                  (i) expressly make the claim; and
      (ii) These acts may be required only as directed in the order, and the                (ii) describe the nature of the withheld documents, communications,
order must protect a person who is neither a party nor a party's officer from       or tangible things in a manner that, without revealing information itself
significant expense resulting from compliance.                                      privileged or protected, will enable the parties to assess the claim.
                                                                                          (B)Information Produced. If information produced in response to a
  (3) Quashing or Modifying a Subpoena.                                             subpoena is subject to a claim of privilege or of protection as trial-
    (A) When Required. On timely motion, the court for the district where           preparation material, the person making the claim may notify any party that
compliance is required must quash or modify a subpoena that:                        received the information of the claim and the basis for it. After being
      (i) fails to allow a reasonable time to comply;                               notified, a party must promptly return, sequester, or destroy the specified
      (ii) requires a person to comply beyond the geographical limits               information and any copies it has; must not use or disclose the information
specified in Rule 45(c);                                                            until the claim is resolved; must take reasonable steps to retrieve the
      (iii) requires disclosure of privileged or other protected matter, if no      information if the party disclosed it before being notified; and may
exception or waiver applies; or                                                     promptly present the information under seal to the court for the district
      (iv) subjects a person to undue burden.                                       where compliance is required for a determination of the claim. The person
   (B) When Permitted. To protect a person subject to or affected by a              who produced the information must preserve the information until the claim
subpoena, the court for the district where compliance is required may, on           is resolved.
motion, quash or modify the subpoena if it requires:                                …
      (i) disclosing a trade secret or other confidential research,                 (g) Contempt. The court for the district where compliance is required – and
development, or commercial information; or                                          also, after a motion is transferred, the issuing court – may hold in contempt
                                                                                    a person who, having been served, fails without adequate excuse to obey
                                                                                    the subpoena or an order related to it.


                                        For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)

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                        EXHIBIT A
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                                            EXHIBIT A

                             TO RULE 2004 SUBPOENA TO AXOS BANK

        Pursuant to Fed. R. Civ. P. 45, Bradley D Sharp, the duly appointed Chapter 11 trustee

(the “Trustee”) in the Chapter 11 Cases (defined below), hereby requests that Axos Bank

produce and make available for inspection and copying to the Trustee each of the following

documents, things, and tangible items, or categories of documents, in your possession, custody,

or control which are responsive to the following requests for documents and materials (the

“Requests”) at the offices of Pachulski Stang Ziehl & Jones, LLP, 10100 Santa Monica
Boulevard., 13th Floor, Los Angeles, California, 90067 (Attn: Jeffrey P. Nolan):

                                         INSTRUCTIONS

        A.       You are required to conduct a thorough investigation and produce all

DOCUMENTS (as defined below) in your possession, custody and control including all

DOCUMENTS in the possession, custody and control of your, officers, directors, employees,

agents, representatives and anyone acting on your behalf.

        B.       If there are no documents in existence that are responsive to a particular Request,

your response must include a statement to that effect. If documents once existed in your

possession, custody, or control, but are no longer in your possession, custody, or control for any

reason, please identify the specific circumstances under which you lost possession, custody, or

control, and identify your understanding of the documents’ [current whereabouts] or the manner

in which you disposed of the documents.

        C.       Electronically stored information (“ESI”) responsive to these Requests shall be

produced in the same manner in which it is stored, together with all associated metadata. If

software not in normal, typical, commercial use is necessary to view the ESI produced in full,

native, and usable form with full functionality, then a copy of or license to the necessary software

shall be produced together with the ESI.




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        D.       Pursuant to Rule 34(b) of the Federal Rules of Civil Procedure, documents should

either be organized and labeled to correspond with the categories in this Document Request or

produced as they are kept in the normal course of business.

        E.       If any of the requested documents fall within the scope of this Request, but have

not been produced on grounds that such documents are privileged, please provide the following

information as to each document to which such claim is made: (a) the privilege that is grounds for

withholding the Document; (b) the nature of the Document (e.g., letter, spreadsheet,

memorandum); (c) the date that the Document was prepared; (d) the name/title of the author; (e)
the name/title of each recipient or addressee of the Document; (f) the number of pages withheld;

and (g) the name and location of the current custodian of the Document.

        F.       Unless otherwise provided herein, the relevant period of inquiry for these Requests

is January 1, 2016 through July 31, 2023.

                         DEFINITIONS FOR DOCUMENT PRODUCTION

                                    AND EXAMINATION TOPICS

                 1.          “YOU” or “YOUR” means Axos Financial, Inc., including its wholly

owned subsidiaries Axos Bank, Axos Clearing LLC and Axos Invest, Inc.

        2.       “CONCERNING” means and includes relating to, constituting, defining,

evidencing, mentioning, containing, describing, discussing, embodying, reflecting, edifying,

analyzing, stating, referring to, dealing with, or in any way pertaining to the subject matter.

        3.       “DOCUMENT” or “DOCUMENTS” is defined to have the same meaning and to

be equal in scope to the terms “documents” and “electronically stored information” as used in the

Federal Rules of Civil Procedure 34(a) and/or “writings” as defined in the Federal Rules of

Evidence 1001, and each “duplicate” as defined in the Federal Rules of Evidence 1001.

“DOCUMENTS” means and includes all written, recorded, transcribed or graphic matter of every

nature, type and kind, however and by whomever produced, reproduced, disseminated or made.

This includes, but is not limited to, any and all originals, copies or drafts of any and all of the

following: papers; books; letters; correspondence; memoranda; notes; notations; transcripts;

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minutes; reports; appraisals; estimates; projections; charts, graphs and tables; schedules;

proposals; offers; contracts; agreements; signature cards; checks, canceled checks and bank or

account statements; and any information contained in any computer tape, card, disk, drive,

program or other device; computer print-outs; microfilm; microfiche; any other tangible or

intangible thing or item that contains any information; and, all “writings and recordings” and

“photographs” (and all negatives thereof) as defined in and by the Federal Rules of Evidence, Rule

1001.

        4.       “KLEIN” means the individual Leslie Klein and any alias name including
Menachem Klein, and/or Lutzy Klein.


        5.       “KLEIN ASSOCIATED ENTITY” means the following organizations:

The Klein Charitable Remainder Unitrust dated 2-20-1996
The Klein Trust
Klein Charitable Remainder Unitrust
Klein Charitable Remainder Annuity
Klein Living Trust dated April 8, 1990
EKLK Foundation
Doctors Marketing Group, LLC
Doctors Marketing Network LLC
Doctors Referral Service LLC
Doctors Marketing Nationwide, Inc. (MD entity)
The Patient Referral Network, LLC (MD entity)
Bay Area Development Co.
Big Boyz Legal, LLC

        6.       “TRANSFERS” means any and all payments, credits, debits, deposits, in

whatever form made, be it wire, check, ACH or otherwise.

                                   DOCUMENT REQUESTS

        Request No. 1:

        All DOCUMENTS maintained by YOU, including, but not limited to, TRANSFERS, for

all the following accounts, whether active or inactive:

        a.       KLEIN;


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           b.       KLEIN ASSOCIATED ENTITY

           Request No. 2:

           All DOCUMENTS maintained by YOU, including, but not limited to, TRANSFERS,

associated with the following address, whether active or inactive (excluding accounts solely held

in the name of Barbara Roth Klein):

                                                322 N. June Street
                                              Los Angeles, CA 90004

           Request No. 3:
           All DOCUMENTS maintained by YOU, including, but not limited to, TRANSFERS,

associated with the following taxpayor id, whether active or inactive:

           •        ___-__-69441

           Request No. 4:

           All DOCUMENTS maintained by YOU, including, but not limited to, TRANSFERS, for

any credit card issued or underwritten by YOU to KLEIN or a KLEIN ASSOCIATED ENTITY.




1
    The full social security number will be provided upon request.

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                        EXHIBIT B
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                                            EXHIBIT B

             TO DEPOSITION ON WRITTEN QUESTIONS (TO SUBPOENA OF

                              AXOS FINANCIAL, INC. (“AXOS”)

1.      Please state your full name, occupation, official title, and business address.

Answer: ______________________________________________________________________

2.      Are you the custodian of records for Axos?

Answer:

3.      In your capacity as custodian of records for Axos, are you familiar with whether Axos
        maintains records of its business activities?

Answer: ______________________________________________________________________

4.      Are the records of Axos kept under your care, supervision, custody, or control?

Answer: ______________________________________________________________________

5.      Was it in the regular course of business activities of Axos for a person with personal
        knowledge of the act, event, condition, opinion, or diagnosis identified in the records
        requested in the attached Exhibit A, to make such records or to transmit such information
        to be included in the records?

Answer:

6.      Were the documents requested in Exhibit A made at or near the time of the act, event,
        condition, opinion, or diagnosis identified in the records or within a reasonable time
        thereafter?

Answer: ______________________________________________________________________

7.      Were the documents requested in the attached Exhibit A made and kept in the regular
        course of daily business activities by Axos?

Answer: ______________________________________________________________________

8.      Were the documents requested in the attached Exhibit A transmitted to your files, and did
        you maintain the records as part of your official duties as the custodian of records for
        Axos?

Answer: ______________________________________________________________________




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9.      Please hand the originals or exact duplicates of the documents requested in the attached
        Exhibit A to the [court reporter/notary public] taking your deposition for photocopying
        and attachment to this deposition. Have you now given all documents requested in the
        attached Exhibit A to the [court reporter] taking your deposition? If not, identify for the
        [court reporter] the records and documents you did not produce and explain why you did
        not produce them.

Answer: ___________________________________________________________________

10.     In the event you are unable to find any of the records requested in the subpoena you
        received, how long does Axos maintain its files, and does Axos ever destroy its files?

Answer: ___________________________________________________________________

11.     Are you aware of any other entities or persons that may have possession of records
        pertaining to those identified in Exhibit A? If so, please state the name and address of
        such entity or person, if known.

Answer: __________________________________________________________________

12.     Have you been requested or directed by any person to withhold or protect, for any reason,
        the records identified in Exhibit A? Has any person suggested that you should withhold
        or protect the records identified in Exhibit A? If so, please state the name and address of
        the person who conveyed this information to you and when such event occurred.

Answer: __________________________________________________________________

13.     Do you know or have reason to believe that the records identified in Exhibit A have in
        any manner been edited, purged, culled, or otherwise altered? If so, please identify the
        records and why they were altered or removed.

Answer: ___________________________________________________________________

14.     If any document responsive to this subpoena was, but is no longer, in your possession,
        custody, or control, or no longer exists, state whether (1) it is missing or lost, (2) it was
        destroyed, (3) it was transferred to others, or (4) it was otherwise disposed of, and explain
        the circumstances surrounding its disposition, including the date of such disposition.

Answer: __________________________________________________________________




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                                          VERIFICATION

STATE OF                              )
     ss.                              )
COUNTY OF                             )

        Before me, the undersigned authority, on this day personally appeared

        _______________________________, custodian of records for Axos, known to me to be
the person whose named is subscribed to the foregoing instrument in the capacity therein stated,
who being first duly sworn, stated upon his/her oath that the answers to the foregoing questions
are true and correct. I further certify that the records attached hereto are exact duplicates of the
original records.



                                              Witness

SWORN TO ME AND SUBSCRIBED before me by ___________________ on
_______________________, ______.




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                      10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067

A true and correct copy of the foregoing document entitled (Specify): NOTICE OF MOTION FOR ORDER
WITHOUT HEARING PURSUANT TO LBR 9013-1(O) MOTION OF CHAPTER 11 TRUSTEE, FOR
ORDER AUTHORIZING THE EXAMINATION OF AXOS FINANCIAL, INC. D/B/A AXOS BANK,
AXOS CLEARING LLC AND AXOS INVEST, INC., PURSUANT TO FED. R. BANKR. P. 2004;
MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATIONS OF BRADLEY D. SHARP,
NICHOLAS R. TROSZAK AND JEFFREY P. NOLAN IN SUPPORT THEREOF will be served or was
served (a) on the judge in chambers in the form and manner required by lbr 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
August 16, 2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

                                                                                       Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) August 16, 2023, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Axos Financial, Inc.                                                          Axos Financials, Inc.
Headquarters                                                                  Attn: Matthew Medina, Sr. Legal
4350 La Jolla Village Drive, Suite 140                                        Operations Specialist
San Diego, CA 92122                                                           Corporate Office
                                                                              4350 La Jolla Village Drive, Suite 140
                                                                              San Diego, CA 92122

Agent                                                                         Agent
National Registered Agents, Inc.                                              National Registered Agents, Inc. of NV
330 N. Brand Blvd, Suite 700                                                  701 S. Carson St., Suite 200
Glendale, CA 91203                                                            Carson City, NV 89701

                                                                                       Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) ____________, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
                                                                        Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 August 16, 2023                         Rolanda Mori                                            /s/ Rolanda Mori
 Date                            Printed Name                                                    Signature


            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

       Simon Aron saron@wrslawyers.com, moster@wrslawyers.com
       Reem J Bello rbello@goeforlaw.com, kmurphy@goeforlaw.com
       Ron Bender rb@lnbyg.com
       Michael Jay Berger michael.berger@bankruptcypower.com,
        yathida.nipha@bankruptcypower.com;michael.berger@ecf.inforuptcy.com
       Greg P Campbell ch11ecf@aldridgepite.com, gc@ecf.inforuptcy.com;gcampbell@aldridgepite.com
       Baruch C Cohen bcc@BaruchCohenEsq.com, paralegal@baruchcohenesq.com
       Theron S Covey tcovey@raslg.com, sferry@raslg.com
       Jeffrey W Dulberg jdulberg@pszjlaw.com
       Dane W Exnowski dane.exnowski@mccalla.com,
        bk.ca@mccalla.com,mccallaecf@ecf.courtdrive.com
       Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
       Michael I. Gottfried mgottfried@elkinskalt.com,
        cavila@elkinskalt.com,lwageman@elkinskalt.com,docketing@elkinskalt.com
       Brandon J Iskander biskander@goeforlaw.com, kmurphy@goeforlaw.com
       Michael S Kogan mkogan@koganlawfirm.com
       John W Lucas jlucas@pszjlaw.com, ocarpio@pszjlaw.com
       Ron Maroko ron.maroko@usdoj.gov
       Kirsten Martinez Kirsten.Martinez@bonialpc.com, Notices.Bonial@ecf.courtdrive.com
       Steven M Mayer smayer@mayerlawla.com
       Krikor J Meshefejian kjm@lnbyg.com
       Kenneth Misken Kenneth.M.Misken@usdoj.gov
       Jeffrey P Nolan jnolan@pszjlaw.com
       Eric J Olson eric@ejolsonlaw.com
       Jeffrey N Pomerantz jpomerantz@pszjlaw.com
       Brian A Procel bprocel@millerbarondess.com,
        rdankwa@millerbarondess.com;docket@millerbarondess.com
       Joshua L Scheer jscheer@scheerlawgroup.com, jscheer@ecf.courtdrive.com
       Mark M Sharf (TR) mark@sharflaw.com,
        C188@ecfcbis.com;sharf1000@gmail.com;2180473420@filings.docketbird.com
       Bradley D. Sharp (TR) bsharp@dsi.biz
       Nikko Salvatore Stevens nikko@cym.law, mandi@cym.law
       Alan G Tippie Alan.Tippie@gmlaw.com,
        atippie@ecf.courtdrive.com;Karen.Files@gmlaw.com,patricia.dillamar@gmlaw.com,denise.walker@g
        mlaw.com
       Gary Tokumori gtokumori@pmcos.com
       United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
       Michael L Wachtell mwachtell@buchalter.com
       John P. Ward jward@attleseystorm.com, ezhang@attleseystorm.com
       Alex M Weingarten aweingarten@willkie.com, lcarter@willkie.com
       Clarisse Young youngshumaker@smcounsel.com, levern@smcounsel.com
       Paul P Young paul@cym.law, jaclyn@cym.law
       Roye Zur rzur@elkinskalt.com,
        cavila@elkinskalt.com;lwageman@elkinskalt.com;1648609420@filings.docketbird.com



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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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2. SERVED BY UNITED STATES MAIL:

Development Specialists, Inc.
333 South Grand Avenue, Suite 4100
Los Angeles, CA 90071

Nathan Talei
Oldman, Sallus & Gold, L.L.P.
16133 Ventura Blvd., PH-A
Encino, CA 91436

Brett Wasserman
Shumaker Mallory, LLP
280 S. Beverly Dr., Ste. 505
Beverly Hills, CA 90212

Counsel for Debtor
Michael Kogan, Esq.
Kogan Law Firm
11500 W. Olympic Blvd., Suite 400
Los Angeles, CA 90064

Office of The United States Trustee
915 Wilshire Blvd., Suite 1850
Los Angeles, California 90017




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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